USCA11 Case: 15-11928 Document: 28 Date Filed: 05/13/2016 Page: 1 of 84

No. 15-11928-DD

IN THE UNITED STATES COURT OF APPEALS
FOR THE ELEVENTH CIRCUIT

JOHN LAWSON SIMONS,
Petitioner-Appellant,
v.

UNITED STATES OF AMERICA,

Respondent-Appellee.

ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ALABAMA
NORTHEASTERN DIVISION
No. 5:11-cv-08027-CLS-TMP
No. 5:11-cv-08028-CLS-TMP

SUPPLEMENTAL APPENDIX

JOYCE WHITE VANCE
United States Attorney
Northern District of Alabama

RAMONA C., ALBIN
Assistant United States Attorney

United States Attorney’s Office
1801 Fourth Avenue North >
Birmingham, Alabama 35203
(205) 244-2001

 
USCA11 Case: 15-11928 Document: 28 Date Filed: 05/13/2016 Page: 2 of 84

Index of Supplemental Appendix!

Docket Sheets (5:08-cr-00247-CLS-TMP and 5:08-cr-00408-CLS-TMP)............ A

5:08-cr-00247-CLS-TMP (Cr. A)

Indictment... ccccccccecserecseesecneeesctsseseecsssesseseseessensevsesseseeerssesssesscsesessatsasesesasssssscnsens |
Guilty Plea Advice of Rights Certification .....ccccccsssssssscsssssssssscessssessesscssenssneenes 10
JUAQMENE ee cceescessctccsscesscssessevsscsecssessecssesesssesscnssssssssessscuesssssveusnscueneeenseaevaces 15

:
Indictment ........ccccescccessscessesesscccsseecssessecesssseessssesesssccsssesescesesussevseeesuestivestausenseseatens 1

JUAZMEN ec eeeeecssecceteeseseressseeesssessseseees rvvsenecendanesuasangsrnnserevasereuannrssansessesses 17
5:11-cv-08027-CLS-TMP (Cy. A)

Order Dismissing Case .....ccecccsesessessesscssesecssecssessecsecsscssearssecatseecersecsessreasesvasentes 21
5:11-cv-08028-CLS-TMP (Cv. B)

Response to Order Regarding Amendment and Answer ........ccccccccessssesssecssceeees 14

 

' There are some incorrect references in the Government’s Redacted Brief. They
are p. 11 Cr. B-Doc. 8-4 at 4 (correct cite is Cv. B-Doc. 8-4 at 4); p. 12 Cr. B-Doc.
8-4 at 14 (correct cite is Cv. B-Doc. 8-4 at 14); and p. 14 Cv. B-Doc. 6 at 16-24
(correct cite is Cv. B-Doc. 8 at 16-24).

 
USCA11 Case: 15-11928 Document: 28 Date Filed: 05/13/2016 Page: 3 of 84

Order Dismissing Case

Certificate of Service

 
USCA11 Case: 15-11928 Document: 28 Date Filed: 05/13/2016 Page: 4 of 84

 
USCA11 Case: 15-11928 Document: 28 Date Filed: 05/13/2016 Page: 5 of 84

5:08-CR-00247-CLS-TMP

 
‘CM/ECE - U.S. District Court Northern District of Alabama Page | of 6
USCA11 Case: 15-11928 Document: 28 Date Filed: 05/13/2016 Page: 6 of 84

CLOSED

USS. District Court
Northern District of Alabama (Northeastern)
CRIMINAL DOCKET FOR CASE #: 5:08-cr-00247-CLS-TMP-1

Case title: USA v. Simons Date Filed: 06/26/2008
Date Terminated: 08/09/2010

 

Assigned to: Judge C Lynwood Smith,
Jr
Referred to: Magistrate Judge T
Michael Putnam

Defendant (1)

John Lawson Simons represented by John Lawson Simons
TERMINATED. 08/09/2010 27151-001
Tucson U, S. Penitentiary
P O Box 24550
Tucson, AZ 85734
PRO SE

Paul Marc Sandlin

223 East Side Square

Huntsville, AL 35801

256-536-6183

Fax: 256-534-8117

Email: pmsandlin@mindspring.com
LEAD ATTORNEY

Designation: Retained

J Derek Drennan

KIRK DRENNAN LAW

500 Office Park Drive Suite 100
Birmingham, AL 35223
205-803-3500

Fax: 205-803-1101

Email: derek@kirkdrennanlaw.com
ATTORNEY TO BE NOTICED

Marcus J E Helstowski
MCDANIEL & MCDANIEL LLC
223 East Side Square

Huntsville, AL 35801
256-534-3018

Fax: 256-534-8117

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.p!1?84479279109896-L_ 1 0-1 5/9/2016

 
*CM/ECE - U.S. District Court Northern District of Alabama

USCA11 Case: 15-11928

Pending Counts

18:2252A(a)(5)(B) ACTIVITIES RE
MATERIAL
CONSTITUTING/CONTAINING
CHILD PORNO

(1)

18:2423(b) COERCION OR
ENTICEMENT OF MINOR FEMALE
(2-10)

18:2423(a) COERCION OR
ENTICEMENT OF MINOR FEMALE

(11)

18:2251(a) SELLING OR BUYING OF
CHILDREN
(12)

Highest Offense Level (Opening)
Felony

Terminated Counts

None

Highest Offense Level (Terminated)

None

Complaints
None

Document: 28

Date Filed: 05/13/2016

Page 2 of 6
Page: 7 of 84

Email: mhelstowski@yahoo.com
ATTORNEY TO BE NOTICED
Designation: Retained

Disposition
BOP 120 mos as to ent 1;

BOP 360 mos as to ents 2-12 to run
sep/concur w/each other and w/ctn 1
and to run concur with sentences
imposed in NDAL case #CR 08-S-408-
NE;

BOP 360 mos as to ents 2-12 to run
sep/concur w/each other and w/ctn |
and to run concur with sentences
imposed in NDAL case #CR 08-S-408-
NE;

BOP 360 mos as to ents 2-12 to run
sep/concur w/each other and w/ctn |
and to run concur with sentences
imposed in NDAL case #CR 08-S-408-
NE; SRT Life; No Fine; AF $1200.00

Disposition

Disposition

 

Plaintiff
USA

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.pl?84479279109896-L_ 10-1

represented by

Joyce White Vance, US Attorney
US ATTORNEY'S OFFICE
1801 4th Avenue North

5/9/2016

 
‘CM/ECE - U.S. District Court Northern District of Alabama Page 3 of 6
USCA11 Case: 15-11928 Document: 28 Date Filed: 05/13/2016 Page: 8 of 84

Birmingham, AL 35203-2101
244-2001

Email: usaaln.ecfusa@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

US Probation

UNITED STATES PROBATION
OFFICE

Robert Vance Bldg.

1800 5th Avenue North
Birmingham, AL 35203

716-2900

Email:
alnpdb_cmecf@alnp.uscourts.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

USM

UNITED STATES MARSHAL
Hugo Black Courthouse, Room 240
1729 Sth Avenue North
Birmingham, AL 35203
205-731-1712

Email: usms-aln-courts@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Mary Stuart Burrell
US ATTORNEY'S OFFICE
400 Meridian Street, Suite 304
Huntsville, AL 35801
256-534-8285
Fax: 256-539-3270
Email: mary.stuart.burrell@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

 

Date Filed # | Docket Text

 

 

 

06/26/2008 1 | INDICTMENT as to John Lawson Simons (1) count(s) 1, 2-10, 11, 12. (DWC, )
(Additional attachment(s) added on 7/8/2008: # 1 Sealed Signed Indictment)
‘| (HBB, ). (Entered: 06/27/2008)
06/30/2008 Arrest of John Lawson Simons (SHB, ) (Entered: 06/30/2008)
06/30/2008 Minute Entry for proceedings held before Magistrate-Judge Harwell G Davis,

[I :Initial Appearance as to John Lawson Simons held on 6/30/2008; charges
and rights explained; Added attorney Paul Marc Sandlin for John Lawson
Simons as retained counsel although not present; Mary Stuart Burrell for govt.;

 

 

 

 

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.pl?84479279109896-L_1_ 0-1 5/9/2016

 
*-CM/ECE - U.S. District Court Northern District of Alabama
USCA11 Case: 15-11928

Page 4 of 6

Document: 28 Date Filed: 05/13/2016 Page: 9 of 84

govt. requested detention; Arraignment’and Detention Hearing set for 7/2/2008
01:30 PM before Magistrate-Judge Harwell G Davis III in Huntsville, AL; dft
remanded to custody of USM; hrg adj. (Tape #DVR.) (SHB, ) (Entered:
06/30/2008)

 

07/01/2008

Iho

STANDING DISCOVER ORDER w/deadlines and instructions set out as to
John Lawson Simons. Signed by Magistrate Judge Paul W Greene on 7/1/2008.
(HBB, ) (Entered: 07/01/2008)

 

07/01/2008

SCHEDULING ORDER AND NOTICE w/deadlines and instructions set out as
to John Lawson Simons. Signed by Magistrate Judge Paul W Greene on
7/1/2008. (HBB, ) (Entered: 07/01/2008)

 

07/02/2008

es

ORDER OF DETENTION Pending Trial as to John Lawson Simons. Signed by
Magistrate-Judge Harwell G Davis, III on 7/2/2008. (DWC, ) (Entered:
07/02/2008)

 

07/02/2008

Minute Entry for proceedings held before Magistrate-Judge Harwell G Davis,
II:Arraignment as to John Lawson Simons (1) Count 1,2-10,11,12 held on
7/2/2008; Marc Sandlin retained and present for dft; Mary Stuart Burrell present
for govt; dft wvd rdg of indictment and entered plea of not guilty; Detention
Hearing as to John Lawson Simons held on 7/2/2008; direct and cross-
examination of govt. witness Aaron Cravens; dft proffers potential 3rd party
custodian; finding that dft has not overcome rebuttable presumption and no
condition or set of conditions can ensure safety of community; dft ordered
detained pending disposition of case- written order to be entered; dft remanded
to custody of USM; hrg adj. (Court Reporter Christina Decker.) (SHB, )
(Entered: 07/02/2008)

 

07/03/2008

NOTICE OF ATTORNEY APPEARANCE: Paul Marc Sandlin appearing for
John Lawson Simons (Sandlin, Paul) (Entered: 07/03/2008)

 

07/03/2008

REQUEST for Disclosure by John Lawson Simons (Sandlin, Paul) (Entered:
07/03/2008)

 

07/28/2008

Im

RESPONSE to by USA as to John Lawson Simons Response to Defendant's
Request for Disclosure (Burrell, Mary) (Entered: 07/28/2008)

 

09/17/2008

|oo

First MOTION to Continue by John Lawson Simons. (Sandlin, Paul) (Entered:
09/17/2008)

 

09/19/2008

iSO

WAIVER of Speedy Trial by John Lawson Simons (SHB, ) (Entered:
09/19/2008)

 

01/15/2009

NOTICE as to John Lawson Simons: Change of Plea Hearing, in this case and
CR 08-S-408-NE, is set for January 23, 2009 at 10:00 a.m., before Judge C
Lynwood Smith Jr., at the United States Courthouse, 101 Holmes Avenue,
Huntsville, Alabama. (LC W) (Entered: 01/15/2009)

 

01/16/2009

NOTICE as to John Lawson Simons: Change of Plea Hearing, in this case and
CR 08-S-408-NE, presently set for 1/23/09 is RESET for January 28, 2009 at
10:00 a.m., before Judge C Lynwood Smith Jr., at the United States Courthouse,
101 Holmes Avenue, Huntsville, Alabama (LCW, ) (Entered: 01/16/2009)

 

 

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.pl?84479279109896-L_1_0-1

 

 

 

5/9/2016

 
“CM/ECE - U.S. District Court Northern District of Alabama Page 5 of 6
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 10 of 84

01/28/2009

Minute Entry for proceedings held before Judge C Lynwood Smith, Jr: Change
of Plea Hearing as to John Lawson Simons held on 1/28/2009, Plea entered by
John Lawson Simons (1) Guilty Count 1,2-10,11,12. defendant remanded to
custody pending sentencing set for 6/17/2009 at 10:00 a.m. in Huntsville,
Alabama. (see also CR 08-S-408-NE)(Court Reporter Christina Decker.) (LCW)
(Entered: 02/23/2009) .

 

01/28/2009

GUILTY PLEA ADVICE OF RIGHTS CERTIFICATION by John Lawson
Simons, filed in court on 1/28/2009. (LCW) (LCW, ). (Entered: 02/23/2009)

 

06/05/2009

Notice of Appearance by Marcus Helstowski for defendant John Lawson
Simons, (Helstowski, Marcus) Modified on 6/5/2009 (SHB, ). (Entered:
06/05/2009)

 

01/19/2010

NOTICE as to John Lawson Simons: Sentencing in this case and CR 08-S-480-
NE is set for February 4, 2010 at 10:00 a.m., before Judge C Lynwood Smith Jr.,
at the United States Courthouse, 101 Holmes Avenue, Huntsville, Alabama.
(LCW) (Entered: 01/19/2010)

 

02/03/2010

NOTICE as to John Lawson Simons: Sentencing, in this case and CR08-S-408-
NE, presently set for 2/4/10 is RESCHEDULED for February 10, 2010 at 1:30
p.m., before Judge C Lynwood Smith Jr., at the United States Courthouse, 101
Holmes Avenue, Huntsville, Alabama. (LCW) (Entered: 02/03/2010)

 

02/09/2010

—n
to

SENTENCING MEMORANDUM by USA as to John Lawson Simons (Burrell,
Mary) (Entered: 02/09/2010)

 

02/09/2010

NOTICE as to John Lawson Simons: Sentencing in this case and CR 08-S-408-
NE, presently set for 2/10/2010 is RESET for March 3, 2010 at 10:00 a.m.,
before Judge C Lynwood Smith Jr. at the United States Courthouse, 101 Holmes
Avenue, Huntsville, Alabama. (LCW) Modified on 2/9/2010 (LCW, ). (Entered:
02/09/2010)

 

06/24/2010

NOTICE OF HEARING as to John Lawson Simons; Sentencing in this case and
CR 08-S-408-NE is set for June 29, 2010 at 1:30 p.m., before Judge C Lynwood
Smith Jr., at the United States Courthouse, 101 Holmes Avenue, Huntsville,
Alabama. (LCW) (Entered: 06/24/2010)

 

06/29/2010

Minute Entry for proceedings held before Judge C Lynwood Smith, Jr:
Sentencing held on 6/29/2010 for John Simons: Sentence: Custody of BOP 10
years as to Count 1, and 30 years as to Counts 2-12, separately, with each count
to run concurrently with the other and to run concurrently with the sentences
imposed in NDAL case no. CR 08-S-408-NE; Supervised release term - Life as
to counts 1-12 in this case, with special conditions; no fine; special assessment
$1,200.00; defendant remanded to custody of USM; (SEE ALSO, CR 08-S-408-
NE)(Court Reporter Christina Decker.) (LCW) Modified on 8/9/2010 (LCW, ).
(Entered: 08/09/2010)

 

08/09/2010

13

PRESENTENCE INVESTIGATION REPORT (Sealed) as to John Lawson
Simons filed w/USP (HBB, ) (Entered: 08/09/2010)

 

08/09/2010

14

Sentencing Recommendations (Sealed) as to John Lawson Simons filed w/USP
(HBB, ) (Entered: 08/09/2010)

 

 

 

 

 

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.pl?84479279109896-L 1 0-1 ——— §/9/2016

 
08/09/2010

15

“ "“ CM/ECF - U.S. District Court Northern District of Alabama
USCA11 Case: 15-11928

Page 6 of 6

Document: 28 Date Filed: 05/13/2016 Page: 11 of 84

JUDGMENT as to John Lawson Simons (1), Count(s) 1, BOP 120 mos as to cnt
1; BOP 360 mos as to ents 2-12 to run sep/concur w/each other and w/ctn | and
to run concur with sentences imposed in NDAL case #CR 08-S-408-NE; SRT
Life; No Fine; AF $1200.00. Signed by Judge C Lynwood Smith, Jr on
8/9/2010. (HBB, ) (Entered: 08/09/2010)

 

06/27/2011

MOTION to Vacate under 28 U.S.C. 2255 ( Civil Action 5:11-CV-8027-CLS-
PWG.) by John Lawson Simons. (Attachments: # 1 Brief in Support of Motion
to Vacate (2255))(AHI) (Entered: 06/27/2011)

 

10/28/2014

MOTION for Writ of Habeas Corpus ad testificandum by John Lawson Simons.
(Drennan, J) (Entered: 10/28/2014)

 

10/28/2014 |,

Case as to John Lawson Simons Reassigned to Magistrate Judge Staci G
Cornelius. Magistrate Judge Paul W Greene no longer assigned to the case.
(HBB, ) (Entered: 10/28/2014)

 

10/28/2014

 

 

Case as to John Lawson Simons Reassigned to Magistrate Judge T Michael
Putnam. Magistrate Judge Staci G Cornelius no longer assigned to the case.
Purusuant to direction of the court re: 2255 case CV 11-8027 (HBB, ) (Entered:

 

 

10/28/2014)

 

 

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.p1?84479279109896-L_1 O-1

 

 

 

PACER Service Center

 

 

Transaction Receipt |

 

|

05/09/2016 09:51:01 |

 

 

 

 

 

 

 

 

PACER . . Client
Login: xq0004:3388745:4299065 Code:

eae Search 5:08-cr-00247-.
Description: ||Docket Report Criteria: CLS-TMP
Billable 4 Cost: 0.40
Pages:

 

 

 

 

 

 

 

 

5/9/2016

 
USCA11 Case: 15-11928 Document: 28 Date Filed:05/13/2016 Page: 12 of 84

5:08-CR-00408-CLS-TMP

 
_CM/ECE - U.S. District Court Northern District of Alabama Page | of 7
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 13 of 84

CLOSED

USS. District Court
Northern District of Alabama (Northeastern)
CRIMINAL DOCKET FOR CASE #: 5:08-cr-00408-CLS-TMP-1

Case title: USA v. Simons Date Filed: 10/28/2008
Date Terminated: 08/10/2010

 

Assigned to: Judge C Lynwood Smith,
Jr

Referred to: US Magistrate Judge T
Michael Putnam

Defendant (1)

John Lawson Simons represented by James M Kendrick
TERMINATED; 08/10/2010 2229 Morris Avenue
Birmingham, AL 35203
205-252-3233
Fax: 205-278-3430
Email: jkendrick@lawyer.com
TERMINATED. 11/18/2008
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: CJA Appointment

Marcus J E Helstowski
MCDANIEL & MCDANIEL LLC
223 East Side Square

Huntsville, AL 35801
256-534-3018

Fax: 256-534-8117 -

Email: mhelstowski@yahoo.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

Paul Marc Sandlin

223 East Side Square

Huntsville, AL 35801

256-536-6183

Fax: 256-534-8117

Email: pmsandlin@mindspring.com
LEAD ATTORNEY

Designation: CJA Appointment

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.pl?895427798865231-L_1_0-1 5/9/2016

 
CM/ECE - U.S. District Court Northern District of Alabama
USCA11 Case: 15-11928 Document: 28

Pending Counts

18:1470 TRANSFER OF OBSCENE
MATERIALS TO MINORS

qd)

18:2423(b) COERCION OR
ENTICEMENT OF MINOR FEMALE
(2-3) .
18:1470 TRANSFER OF OBSCENE
MATERIALS TO MINORS

(4)

18:2251(a) SELLING OR BUYING OF
CHILDREN

(S)

18:2252A(a)(1) ACTIVITIES RE
MATERIAL
CONSTITUTING/CONTAINING
CHILD PORNO

(6)

18:2423(b) COERCION OR
ENTICEMENT OF MINOR FEMALE
(7-9)

18:2423(a) COERCION OR
ENTICEMENT OF MINOR FEMALE
(10)

18:2253 CRIMINAL FORFEITURE IN
VIOLATION OF EXPLOITATION OF
MINORS

(11)

Highest Offense Level (Opening)
Felony

Terminated Counts

None

Page 2 of 7

Date Filed: 05/13/2016 Page: 14 of 84

- J Derek Drennan

KIRK DRENNAN LAW

500 Office Park Drive Suite 100
Birmingham, AL 35223
205-803-3500

Fax: 205-803-1101

Email: derek@kirkdrennanlaw.com
ATTORNEY TO BE NOTICED

Disposition

CBP 10 yrs sep/concur
CBP 30 yrs sep/concur
CBP 10 yrs sep/concur

CBP 30 yrs sep/concur

CBP 20 yrs sep/concur

CBP 30 yrs sep/concur

CBP LIFE sep/concur

Forfeiture ordered; SRT Life as to Cts
2-10 and 3 yrs as to Cts | and 4 all
sep/concur; NO FINE; AF $1,000.00

Disposition

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.pl?895427798865231-L_1_0-1 5/9/2016

 
_CM/ECF - U.S. District Court Northern District of Alabama Page 3 of 7
USCA11 Case: 15-11928 Document: 28 -Date Filed: 05/13/2016 Page: 15 of 84

Highest Offense Level (Terminated)

 

None

Complaints Disposition

None

Plaintiff

USA represented by Joyce White Vance, US Attorney

US ATTORNEY'S OFFICE
1801 4th Avenue North.
Birmingham, AL 35203-2101
244-2001

Email: usaaln.ecfusa@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

US Probation

UNITED STATES PROBATION
OFFICE

Robert Vance Bldg.

1800 5th Avenue North
Birmingham, AL 35203
716-2900

Email:
alnpdb_cmecf@alnp.uscourts.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

USM

UNITED STATES MARSHAL
Hugo Black Courthouse, Room 240
1729 Sth Avenue North
Birmingham, AL 35203
205-731-1712

Email: usms-aln-courts@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Mary Stuart Burrell

US ATTORNEY'S OFFICE

400 Meridian Street, Suite 304
Huntsville, AL 35801

256-534-8285

Fax: 256-539-3270

Email: mary.stuart.burrell@usdoj.gov

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.pl?895427798865231-L_ 1 0-1 5/9/2016

 
_CM/ECF - U.S. District Court Northern District of Alabama . Page 4 of 7
. USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 16 of 84

LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Davis A Barlow

U.S. ATTORNEY'S OFFICE
400 Meridian Street, Suite 304
Huntsville, AL 35801
256-534-8285

Fax: 256-539-3270

Email: davis.barlow@usdoj.gov
ATTORNEY TO BE NOTICED

 

Date Filed

Docket Text

 

10/28/2008

INDICTMENT as to John Lawson Simons (1) count(s) 1, 2-3, 4, 5, 6, 7-9, 10,
11. (Attachments: # | Signed Indictment (SEALED)) (DWC, ) (Entered:
10/29/2008)

 

10/30/2008

Case as to John Lawson Simons Reassigned to Judge C Lynwood Smith, Jr.
Judge U W Clemon no longer assigned to the case. (DWC, ) (Entered:
10/30/2008)

 

10/30/2008

Iho

CLERK'S NOTICE TO PARTIES of Case Reassignment to Judge Smith from
Judge Clermon as to dft John Lawson Simons (DWC, ) (Entered: 10/30/2008)

 

11/05/2008

Ie

NOTICE OF HEARING as to John Lawson Simons Supplemental Arraignment
set for 11/20/2008 09:30 AM before Magistrate-Judge Robert R Armstrong.
(SDA ) (Entered: 11/05/2008)

 

11/17/2008

SCHEDULING ORDER and NOTICE that certain deadlines and instructions
apply as set out as to John Lawson Simons. Signed by Magistrate-Judge Robert
R Armstrong on 11/14/2008. (DWC, ) (Entered: 11/17/2008)

 

11/17/2008

tn

STANDING DISCOVERY ORDER with instructions and deadlines set out as to
John Lawson Simons. Signed by Magistrate-Judge Robert R Armstrong on
11/14/2008. (DWC, ) (Entered: 11/17/2008)

 

11/18/2008

RESPONSE to by USA as to John Lawson Simons Response to Discovery
Order (Burrell, Mary) (Entered: 11/18/2008)

 

11/20/2008

Minute Entry for proceedings held before Magistrate-Judge Harwell G Davis,
II :Initial Appearance and Arraignment as to John Lawson Simons (1) Count
1,2-3,4,5,6,7-9,10,11 held on 11/20/2008; Marc Sandlin present for dft; charges
and rights explained; dft waived rdg of indictment and entered plea of not guilty;
dft remanded to custody of USM as bond not an issue at this time; hrg adj.
(Court Reporter Cheryl Powell.) (SHB, ) (Entered: 11/20/2008)

 

12/05/2008

Im

| Magistrate-Judge Harwell G Davis, HI on 11/18/08, npt 11/18/08. (SHB, )

CJA 20 as to John Lawson Simons: Appointment of Attorney Paul Marc Sandlin
for John Lawson Simons: Access appointment forms at cja forms. Signed by

(Entered: 12/05/2008)

 

 

12/10/2008

 

{oe

 

 

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.p1?895427798865231-L_1_0-1 5/9/2016

 
_CM/ECE - U.S. District Court Northern District of Alabama
USCA11 Case: 15-11928

Page 5 of 7

Document: 28 Date Filed: 05/13/2016 Page: 17 of 84

First MOTION to Continue for Plea by John Lawson Simons. (Sandlin, Paul)
(Entered: 12/10/2008)

 

12/10/2008

INO

WAIVER of Speedy Trial by John Lawson Simons (Sandlin, Paul) (Entered:
12/10/2008)

 

01/15/2009

NOTICE as to John Lawson Simons: Change of Plea Hearing, in this case and
CR 08-S-247-NE, is set for January 23, 2009 at 10:00 a.m., before Judge C
Lynwood Smith Jr., at the United States Courthouse, 101 Holmes Avenue,
Huntsville, Alabama. (LCW) (Entered: 01/15/2009)

 

01/16/2009.

NOTICE as to John Lawson Simons: Change of Plea Hearing, in this case and
CR 08-S-247-NE, presently set for 1/23/09 is RESET for January 28, 2009 at
10:00 a.m., before Judge C Lynwood Smith Jr., at the United States Courthouse,
101 Holmes Avenue, Huntsville, Alabama(LCW, ) (Entered: 01/16/2009)

 

01/28/2009

Minute Entry for proceedings held before Judge C Lynwood Smith, Jr: Change
of Plea Hearing as to John Lawson Simons held on 1/28/09, Plea entered by
John Lawson Simons (1) Guilty Count 1,2-3,4,5,6,7-9,10,11. (no plea agreement
in this case); defendant remanded to custody pending sentencing set for
6/17/2009 at 10:00 a.m., in Huntsville, Alabama. (Court Reporter Christina
Decker.) (See also CR 08-S-247-NE)(LCW) Modified on 2/23/2009 (LCW, ).
(Entered: 02/23/2009)

 

01/28/2009

10

GUILTY PLEA ADVICE OF RIGHTS CERTIFICATION by John Lawson
Simons, filed in court on 1/28/2009. (LCW) (Entered: 02/23/2009)

 

02/23/2009

NOTICE as to John Lawson Sinions, in this case and CR 08-S-247-NE;
Sentencing set for June 17, 2009 at 10:00 a.m. before Judge C Lynwood Smith
Jr., at the United States Courthouse, 101 Holmes Avenue, Huntsville, Alabama.
(LCW) (Entered: 02/23/2009)

 

06/05/2009

eek
ree

First MOTION to Withdraw as Attorney by Marc Sandlin. by John Lawson
Simons. (Sandlin, Paul) (Entered: 06/05/2009)

 

01/19/2010

NOTICE as to John Lawson Simons: Sentencing in this case and CR 08-S-247-
NE is set for February 4, 2010 at 10:00 a.m., before Judge C Lynwood Smith Jr.,
at the United States Courthouse, 101 Holmes Avenue, Huntsville, Alabama.
(LCW) (Entered: 01/19/2010)

 

02/03/2010

NOTICE as to John Lawson Simons: Sentencing in this case and CR 08-S-247-
NE, presently set for 2/4/10 is RESCHEDULED for February 10, 2010 at 1:30
p.m., before Judge C Lynwood Smith Jr., at the United States Courthouse, 101
Holmes Avenue, Huntsville, Alabama. (LCW) (Entered: 02/03/2010)

 

02/09/2010

pone
ho

|

SENTENCING MEMORANDUM by USA as to John Lawson Simons (Burrell,
Mary) (Entered: 02/09/2010)

 

02/09/2010

NOTICE as to John Lawson Simons: NOTICE as to John Lawson Simons:
Sentencing in this case and CR 08-S-247-NE, presently set for 2/10/2010 is
RESET for March 3, 2010 at 10:00 a.m., before Judge C Lynwood Smith Jr. at
the United States Courthouse, 101 Holmes Avenue, Huntsville, Alabama.
(LCW) (Entered: 02/09/2010)

 

 

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.pl?895427798865231-L_1_ 0-1

 

 

 

5/9/2016

 
' CM/ECF - U.S. District Court Northern District of Alabama Page 6 of 7
USCA11 Case: 15-11928 Document: 28 Date Filed: 05/13/2016 Page: 18 of 84

03/09/2010 13 | OBJECTION TO PRESENTENCE INVESTIGATION REPORT by John
Lawson Simons (Butler, John) (Entered: 03/09/2010)

06/24/2010 NOTICE OF HEARING as to John Lawson Simons; Sentencing in this case and
CR 08-S-247-NE is set for June 29, 2010 at 1:30 p.m., before Judge C Lynwood
Smith Jr., at the United States Courthouse, 101 Holmes Avenue, Huntsville,
Alabama. (LCW) (Entered: 06/24/2010)

06/29/2010 Minute Entry for proceedings held before Judge C Lynwood Smith, Jr:
Sentencing held on 6/29/2010 for John Simons: SENTENCE: Custody of BOP -
Life as to Count 10; 30 years as to Counts 2,3,5,7-9; 20 years as to Count 6; and
10 years as to Counts | and 4, separately, all sentences to run concurrently with
the other, and concurrently with the sentences imposed in NDAL case no. CR
08-S-247-NE: Supervised release term 3 years as to Count | and 4, and Life as
to Counts 2-10, Forfeiture ordered as to Count 11; no fine imposed; Special
Assessment $1,000.00; defendant remanded to custody of USM; (Court
Reporter Christina Decker.) (LCW) (Entered: 08/09/2010)

07/01/2010 14 |} MOTION for Forfeiture of Property (Preliminary Order) by USA as to John
Lawson Simons. (Burrell, Mary) (Entered: 07/01/2010)

08/10/2010 1S | PRESENTENCE INVESTIGATION REPORT (Sealed) as to John Lawson
Simons filed with USP. (SMH2, ) (Entered: 08/10/2010)

 

 

 

 

 

08/10/2010 16 | Sentencing Recommendations (Sealed) as to John Lawson Simons filed with
USP. (SMH2, ) (Entered: 08/10/2010)

08/10/2010 17 | JUDGMENT as to John Lawson Simons (1), Count(s) 1, 4, CBP 10 yrs
sep/concur; Count(s) 2-3, 5, 7-9, CBP 30 yrs sep/concur; Count(s) 6, CBP 20 yrs
sep/concur; Count(s) 10, CBP LIFE sep/concur; Count(s) 11, Forfeiture ordered;
SRT Life as to Cts 2-10 and 3 yrs as to Cts 1 and 4 all sep/concur; NO FINE;
AF $1,000.00. Signed by Judge C Lynwood Smith, Jr on 8/9/10. (SMH2, )
(Entered: 08/10/2010)

PRELIMINARY ORDER OF FORFEITURE as to John Lawson Simons. ccm
to USM and USAO. Signed by Judge C Lynwood Smith, Jr on 8/10/10.
(SMH2, ) (Entered: 08/10/2010)

MOTION to Vacate under 28 U.S.C. 2255 ( Civil Action 5:1 1-CV-8028-CLS-
TMP.) by John Lawson Simons. (Attachments: # | Brief in Support of Motion
to Vacate (2255))(AHI ) (Entered: 06/27/2011)

20 | NOTICE Declaration of Publication by John Lawson Simons (Barlow, Davis)
(Entered: 10/25/2011)

MOTION for Forfeiture of Property Motion for Final Order of Forfeiture by
USA as to John Lawson Simons. (Attachments: # 1 Text of Proposed Order
proposed Final Order of Forfeiture)(Barlow, Davis) (Entered: 10/31/2011)

FINAL ORDER OF FORFEITURE as set out as to John Lawson Simons re 21
MOTION for Forfeiture of Property Motion for Final Order of Forfeiture filed
by USA, (ccm). Signed by Judge C Lynwood Smith, Jr on 11/3/2011. (HBB, )
(Entered: 11/03/2011)

 

 

08/10/2010 I

Cw

 

Oo

06/27/2011 I

|

 

to

10/25/2011

 

tr
—

10/31/2011

 

11/03/2011

IS

 

 

 

 

 

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.p!?895427798865231-L_1 0-1 5/9/2016

 
_CM/E a Ristrict court Northern District of Alabam Page 7 of 7

CF -U
MOSCA 11 Case: 15-11928 Document: 28 Date Filed: 05/13/2016 Page: 19 of 84

 

 

 

PACER Service Center

| Transaction Receipt |

| 05/09/2016 09:51:41 |
PACER . . Client
Login: q0004:3388745:4299065]1— a.

Search 5:08-cr-00408-
Criteria:. CLS-TMP

 

 

 

 

 

 

 

 

Description: [Docket Report

 

 

Billable

5 Cost: 0.50
Pages:

 

 

 

 

 

 

 

 

 

 

 

 

https://ecf.alnd.uscourts.gov/cgi-bin/DktRpt.pl?895427798865231-L_1_0-1 5/9/2016

 
USCA11 Case: 15-11928 Documen t:28 Date Filed: 05/13/2016 Page: 20 of 84

5:08-CR-00247-CLS-TMP
(CR. A)

 
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 21 of 84

 
USCA EL, G8 Gs! er-bb249-clLQoFMBe Boeimentale Fis obr26108" Page Ragey 22 of 84 FILED

2008 Jun-27 AM 09:30
U.S, DISTRICT COURT
N.D. OF ALABAMA

AHM/MSB: JULY 2008
GJ #8

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ALABAMA

NORTHEASTERN DIVISION

UNITED STATES OF AMERICA )

)

Vv. )

)

JOHN LAWSON SIMONS )
INDICTMENT

COUNT ONE: [18 U.S.C. § 2252A(a)(5)(B)]
The Grand Jury charges:

That on or about the 4" day of May, 2006, in Madison County, within the

Northern District of Alabama, the defendant,
JOHN LAWSON SIMONS,

did knowingly possess material that contained images of child pornography that had
been mailed, shipped and transported in interstate and foreign commerce and that was
produced using materials that had been mailed, shipped and transported in interstate
and foreign commerce, in violation of Title 18, United States Code, Section

2252A(a)(5)(B).

 
USCA Ga G28%sl oF-0b247-cl Q2FMBe Battimeht® Filed dé7267089 Bage"are 29 of 84

COUNT TWO: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 29" day of April and the 2™ day of May, 2003,
a more exact date being unknown to the Grand Jury, in Madison County, within the
Northern District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,

traveled in interstate commerce from Alabama to Ohio, for the purpose of engaging
in any sexual act, as defined in Title 18, United States Code, Section 2246(2), with
A.M., a person under 18 years of age, which sexual act would be in violation of
Title 18, United States Code, Section 2243(a) if the sexual act had occurred in the
special maritime and territorial jurisdiction of the United States, all in violation of

Title 18, United States Code, Section 2423(b).

COUNT THREE: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 7" and the 15™ day of July, 2003, a more exact
date being unknown to the grand jury, in Madison County, within the Northern
District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,

 
USCA 6 Caseagler eae -cl OTe Baciimeh Ale Fred GH 2670 ‘Page Agpa 24 of 84

traveled in interstate commerce from Alabama to Ohio, for the purpose of engaging
in any sexual act, as defined in Title 18, United States Code, Section 2246(2), with
A.M., a person under 18 years of age, which sexual act would be in violation of
Title 18, United States Code, Section 2243(a) if the sexual act had occurred in the
special maritime and territorial jurisdiction of the United States, all in violation of

Title 18, United States Code, Section 2423(b).

COUNT FOUR: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 26" and the 27" day of July, 2003, a more exact
date being unknown to the grand jury, in Madison County, within the Northern
District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,
traveled in interstate commerce from Alabama to Ohio, for the purpose of engaging
in any sexual act, as defined in Title 18, United States Code, Section 2246(2), with
A.M., a person under 18 years of age, which sexual act would be in violation of
Title. 18, United States Code, Section 2243(a) if the sexual act had occurred in the
special maritime and territorial jurisdiction of the United States, all in violation of

Title 18, United States Code, Section 2423(b).

 
USCA L,Gageiel Fr bt228-ciRORMRE NE RameRAE FIlEd de7267080 age'ZAges 25 of 84

- COUNT FIVE: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 12" and the 13" day of August, 2003, a more
exact date being unknown to the grand jury, in Madison County, within the Northern
District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,
traveled in interstate commerce from Alabama to Ohio, for the purpose of engaging
in any sexual act, as defined in Title 18, United States Code, Section 2246(2), with
A.M., a person under 18 years of age, which sexual act would be in violation of
Title 18, United States Code, Section 2243(a) if the sexual act had occurred in the
special maritime and territorial jurisdiction of the United States, all in violation of

Title 18, United States Code, Section 2423(b).

COUNT SIX: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 18" and the 19" day of August, 2003, a more
exact date being unknown to the grand jury, in Madison County, within the Northern
District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,

 
USOAL, Gosia: B49. c REFMIBE BokimeR® FEA LRBENBO Kage BAIR 26 oF 84

traveled in interstate commerce from Alabama to Ohio, for the purpose of engaging
in any sexual act, as defined in Title 18, United States Code, Section 2246(2), with
A.M., a person under 18 years of age, which sexual act would be in violation of
Title 18, United States Code, Section 2243(a) if the sexual act had occurred in the
special maritime and territorial jurisdiction of the United States, all in violation of

Title 18, United States Code, Section 2423(b).

COUNT SEVEN: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 29" day of August and the 1* day of September,
2003, a more exact date being unknown to the grand jury, in Madison County, within
the Northern District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,

traveled in interstate commerce from Alabama to Ohio, for the purpose of engaging
in any sexual act, as defined in Title 18, United States Code, Section 2246(2), with
A.M., a person under 18 years of age, which sexual act would be in violation of
Title 18, United States Code, Section 2243(a) if the sexual act had occurred in the
special maritime and territorial jurisdiction of the United States, all in violation of

Title 18, United States Code, Section 2423(b).

 
USCA C28 Br oy CLOT bomen ete ed Se abIR Bage’ Fafa >’ of 84

COUNT EIGHT: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 4" and the 5" day of October, 2003, a more exact
date being unknown to the grand jury, in Madison County, within the Northern
District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,
traveled in interstate commerce from Alabama to Ohio, for the purpose of engaging
in any sexual act, as defined in Title 18, United States Code, Section 2246(2), with
A.M., a person under 18 years of age, which sexual act would be in violation of
Title 18, United. States Code, Section 2243(a) if the sexual act had occurred in the
special maritime and territorial jurisdiction of the United States, all in violation of

Title 18, United States Code, Section 2423(b).

COUNT NINE: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 25" and the 26" day of October, 2003, a more
exact date being unknown to the grand jury, in Madison County, within the Northern
District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,

 
USCA G28 8 UB -cROFHP? "i cRlimeRL® FEE ARPSLIR? Wage AGS 28 of 84

- traveled in interstate commerce from Alabama to Ohio, for the purpose of engaging
in any sexual act, as defined in Title 18, United States Code, Section 2246(2), with
A.M., a person under 18 years of age, which sexual act would be in violation of
Title 18, United States Code, Section 2243(a) if the sexual act had occurred in the
special maritime and territorial jurisdiction of the United States, all in violation of

Title 18, United States Code, Section 2423(b).

COUNT TEN: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 6" and the 7" day of February, 2004, a more
exact date being unknown to the grand jury, in Madison County, within the Northern
District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,
traveled in interstate commerce from Alabama to Indiana, for the purpose ofengaging |
in any illicit sexual contact, further defined as any sexual act as defined in Title 18,
United States Code, Section 2246(2), with A.S., a person under 18 years of age,
which sexual act would be in violation of Title 18, United States Code, Section
2243(a) if the sexual act had occurred in the special maritime and territorial
jurisdiction of the United States, all in violation of Title 18, United States Code,

Section 2423(b).

 
USCA LL, Cassi 5: LR2B. clOTM Be Mb ceimeRA? EIlBA CEMEME? Hage BIAS 29 of 84

COUNT ELEVEN: [18 U.S.C. § 2423(a)]

The Grand Jury charges:

That on or about between the 25" and the 28" day of November, 2004, a more
exact date being unknown to the Grand Jury, in Madison County, within the Northern
District of Alabama, the defendant,

JOHN LAWSON SIMONS,
knowingly transported A.S., an individual who had not attained the age of 18 years,
in interstate commerce from Florida to Alabama, with intent of A.S. engaging in any
sexual activity, including the production of child pornography as defined in section
2256(8), for which any person can be charged with a criminal offense, in violation of

Title 18, United States Code, Section 2423(a).

COUNT TWELVE: [18 U.S.C. § 2251(a)]

The Grand Jury charges that:

That on or about between the 25" and 28" day of November, 2004, a more
exact date being unknown to the Grand Jury, in Madison County, within the Northern
District of Alabama, the defendant,

JOHN LAWSON SIMONS,

did employ, use, persuade, induce, and entice A.S., a minor, to engage in sexually

 
USCA1A Ca eeog Si!dG28r.cBOsHmno”BGaimeRPS FARE CH EIR? Bagel #EPaS0 oF 84

explicit conduct for the purpose of producing a visual depiction of such conduct, said
visual depiction which was produced using materials that had been mailed, shipped,
and transported in interstate and foreign commerce, in violation of Title 18, United

States Code, Section 2251 (a).

A TRUE BILL
/s/ electronic signature

FOREMAN OF THE GRAND JURY ALICE H. MARTIN
United States Attorney

/s/ electronic signature

MARY STUART BURRELL
Assistant United States Attorney

 
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 31 of 84

 

 
USCAQL Capen 15-84 92P ci DoRUB EBS Aner aie Files: OPA | BagPagegs2 of 84 FILED

2016 May-05 PM 03:26
U.S. DISTRICT COURT
N.D. OF ALABAMA

+ artes

H Fi pet
2 River «| BvD

JAN.2 8 2803 UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ALABAMA

UNITED STATES DISTRICT COURT Notre ASTGAL) DIVISION

NORTHERN DISTRICT OF ALABAMA
UNITED STATES OF AMERICA,

 

Case No. CR-_$ : O8 - CK - 074 T-
CLS - PwWe

VS.

oW \ ’

Defendant.

GUILTY PLEA ADVICE OF RIGHTS CERTIFICATION'

INSTRUCTIONS TO COUNSEL ;

Prior to the offer of a plea of guilty, counsel for the defendant must personally discuss, ink

detail, each of the following matters with the defendant, and, must indicate compliance in the §
appropriate places on this form.

This revised form is lengthy. You will need at least one hour to thoroughly review it

with the defendant. Therefore, counsel must arrange his or her schedule to meet with the defendant ¥
well in advance of the plea proceeding.

The court prefers that compliance be indicated by instructing the defendant to inscribe
his or her initials in the appropriate places on this form.

Once completed, the form shall be filed in open court, at the beginning of the pleaj
proceeding.

 

A, Preliminary Matters

1, I understand that I will be placed under oath and, accordingly, that my answers to the
court’s questions and any statement I make during the plea proceeding will be subject to the penalties
for perjury or for making a false statement. I further understand that, if I should willfully be
untruthful, I may be prosecuted in a separate proceeding for perjury and, if convicted, could receive
a separate and distinct sentence.

Done: )

2. I understand that I may be asked to state my age, date of birth, the extent of my
education or schooling, and whether I can read, write, and understand the English language.

Done: eu)

' This form was approved for use in the United States District Court for the Northern District of Alabama on
August 21, 2003. DO NOT USE ANY EARLIER VERSION,

 

Page 1 of 9

Shs

 
USCAEL S83 Ge! e-06247-cLSOFMPe Botlimedt WS Hist 82/28/69 | age BYF-0°S Of 84

3. [ understand that I may be asked whether J have any physical or mental defect that
makes it more difficult for me to hear clearly, or to understand anything that is said to me.

Done:

r

4, I understand that I may be asked whether I recently have been treated for any mental
illness or addiction to narcotic drugs of any kind, and, whether I presently am suffering from any
mental illness, emotional impairment, or physical illness that might affect my ability to understand
the plea proceeding.

Done: p

P

5. I understand that I may be asked whether I have taken, consumed, or ingested any of
the following substances during the preceding 48 hours: (a) alcoholic beverages or intoxicating
liquors; (b) drugs or medications of any kind (prescription or otherwise); and (c) any other substance
that might affect my ability to understand the plea proceeding.

Done: P

6. I understand that the court must be satisfied that I completely understand the plea
proceeding, and that I accordingly have an affirmative duty to inform the court if] do not understand
anything that is said or done.

Done:

P

7, I further understand that, if I inform the court that I do not understand anything that
is said or done during the plea proceeding, the court will, before going forward, undertake all
reasonable steps — including a recess, to allow me to consult in private with my attorney — to make
certain that I do understand.

Done: p

8. I understand that the court must be assured that I am satisfied with my attorney, and,
that I have no complaints about the manner in which he or she has, thus far, represented me in this
case.

Done: f

E

9. I understand that the court must be satisfied: (a) that I have received a copy of the
Grand Jury’s Indictment (or the Information filed by the Government); (b) that I have read the
Indictment (or Information), or that it has been read to me by counsel; and (c) that I understand the
charge (or charges) against me.

Done: ( H

=

Page 2 of 9

O23

 
USCALL GAS Ra! 6 60887- cL Qop Be Hoeinelt Ae THR 89/38/89! Pag 3a7's34 of 84

10. T understand that the court must be satisfied that I am entering my plea (or pleas) of
guilty freely and voluntarily. Specifically, | understand that the court must be satisfied that I have
not been coerced by any threat, or induced by any improper promise, to enter my plea (or pleas) of
guilty — regardless of whether the threat or improper promise was made directly to me, or indirectly,
to any other person who is related to me, or close to me, and capable of influencing my decisions. -

Done: i u \
B. Plea Agreement ~ Wo Pe tA A GE tu ext
1, I understand that, if there is a plea agreement, the terms of agreement must be fully

and completely disclosed in open court, on the record; and that, if the agreement is in writing, a copy
will be filed.

Done: p

P

2. I understand that I must confirm: (a) if the plea agreement is in writing, that I have
read the plea agreement, or that it has been read to me by counsel; (b) that I have had ample
opportunity to discuss the terms of the plea agreement with my attorney; (c) that the plea agreement
incorporates all understandings I have reached with the attorney for the United States Government;
and (d) that I personally understand the terms of my plea agreement.

E

Done: ?

3. I understand that, if my plea agreement provides for the Government to recommend,
pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), the imposition of (or to not oppose
my request for) a particular sentence the court is not bound by the agreement; and, if the agreement
is rejected by the court — in other words, if the judgment and sentence imposed by the court differs
in any respect from the terms of my plea agreement — I will not have a right to withdraw my plea
(or pleas) of guilty.

Done: Not Applicable:

4. [T understand that, if my plea agreement provides for the dismissal of other charges
pending against me pursuant to Federal Rule of Criminal Procedure 11(c)(1)(A), or for the
imposition of a specific sentence pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), the
court may accept or reject the agreement, or may defer its decision as to acceptance or rejection until
it has considered the contents of my presentence investigation report. I further understand that, if
the plea agreement is accepted by the court, the court will enter a judgment and sentence in
accordance with the disposition provided for in my plea agreement. On the other hand, I also
understand that, if my plea agreement is rejected by the court:

a. the court will inform me personally, in open court, that it is not bound by the terms
of my agreement; and

Page 3 of 9

Ak

 
USCA EL £98 %!4-00247-cLSOFMBCBoeiiment 1G HRY 82/28/89 | Page AQ#.25 Of 84

b. I then will be given the opportunity to withdraw my plea (or pleas) of guilty; and

C. if | choose to persist in my plea (or pleas) of guilty, after having been informed by the
court that it rejects my agreement, the sentence imposed upon me may be less
favorable than that stated in my plea agreement.

Done: f U Not Applicable:

5

C. Explanation of Possible Statutory Penalties

1, 1 confirm that my attorney has explained, for each charge to which I am entering a
plea of guilty, the mandatory minimum sentence (if'any) and the maximum penalty provided by _
statute for each offense to which I am entering a plea of guilty, including the effect of any statute
which may enhance or increase the statutory range of punishment:

Done:

2. I understand that, for each count of the Indictment (or Information) to which I enter
a plea of guilty, the court will be required to impose a special assessment fee in the amount of $100.

Bie

Done:

3. I understand that the court may require me to make restitution to any victim of the
criminal offense (or offenses) to which I am pleading guilty.

F

Done:

4, I understand that parole has been abolished in the Federal penal system, and that, if
I am sentenced to a term of imprisonment, I will not be released on parole.

b

Done:

5, I understand that, if 1 am sentenced to imprisonment, the court must impose a term
of supervised release to follow any term of imprisonment. I confirm that my attorney has explained
the potential duration or length of time that I will be subjected to the supervision of a United States
Probation Officer. .

Done:

P

D. Explanation of U.S. Sentencing Guidelines
ih
1. J understand that any sentence imposed upon me 44Wbe subject to the requirements
of the United States Sentencing Guidelines, and I confirm that my attorney has discussed those

Guidelines with me, and, how they could affect any sentence (or sentences) that might be imposed
in my case.

Page 4 of 9

oA

 
USCA Gane 15: 4d94R.cL AMIDA RAE THRE OD/ASIGD | Bagd’6 GP 996 Of 84

Done:

P

2. I understand that the Sentencing Guidelines provide for a complex series of
calculations that result in a range of sentence for a particular case, and that such calculations are
based, in large part, upon a combination of two factors: on the one hand, a factor called the “Offense
Level”; and, on the other hand, a factor called the “Criminal History Category,” which is an
evaluation of the nature and extent of my prior criminal history (if any). -

Done: Pu )

3. I also understand that the “Offense Level” calculation takes into consideration a
variety of matters, including (but not limited to) such things as: (a) the nature and consequences of
the offense (or offenses) of conviction; (b) my role in the commission of such offense (or offenses);
(c) whether a weapon was involved; (d) the nature of the victims of the crime, if there were any, and,
if so, my consideration of such victims; (e) whether bodily injury was inflicted; (f) the amount of any
money, property, or drugs which might be embraced in the offense (or offenses) of conviction; (g)
my conduct in connection with the investigation and prosecution of the offense (or offenses); and
(h) whether I have accepted responsibility for the offense (or offenses).

- Done:

4. understand that the court will not be able to determine the Guidelines sentence range
that applies to my case until a pre-sentence investigation has been completed, and both the
Government and I have had an opportunity to challenge the reported facts and the application of the
Guidelines recommended by the Probation Officer.

P

Done: p

5. [understand that the sentence ultimately imposed by the court may be different from
either any estimate my attorney may have given me, or any preliminary evaluation that may have
been provided by a United States Probation Officer.

Done: f

E

6. I understand that, even after my Guidelines sentence range has been finally
determined, the court still has the authority — in some limited circumstances — to depart from the
Guidelines, and to impose a sentence that is either more severe, or less severe, than the sentence
called for by application of the Guidelines.

:

Done: p

7. J understand that the Sentencing Guidelines will require the court to impose a fine on
me, unless the court concludes either (a) that I am not likely to be able to pay a fine, or (b) that the
imposition of a fine would unduly burden any persons who are dependent upon me for financial
support. Even so, | also understand that, in either of those events, the court still could require some

Page 5 of 9

 
- USCAGL 2asgalG:b4949-cLRORMBEBoemeMals FRiti 82/48/60" PagPaeeies7 of 84

form and duration of community service in lieu of all or part of a fine.

Done: f

I

8. I understand that, if the court determines J have the financial ability to do so, the court
could require me to pay all or part of any cost of imprisonment, confinement, or supervision while
on probation or supervised release.

Done: f

+

E. Explanation of Substantive Rights

1, I understand that I have a right to plead “not guilty” to any offense charged against
me, and, to persist in such a plea. In other words, I understand that I am not required to enter a plea
of guilty to any charge contained in the Indictment (or Information).

|

Done:

2. I understand that, if I did enter a plea (or pleas) of “not guilty,” I then would be
entitled to a speedy and public trial by a jury composed of twelve people who have been selected
from a panel of persons whose names have been drawn at random from a fair cross-section of the
community that comprises that area of the Northern District of Alabama in which the indictment (or
information) has been filed.

.

Done: P

3. 1 understand that, at a jury trial, I would be presumed innocent of the charge (or
charges) against me, and that I could not be convicted of any offense unless the Government proved
each and every element of the charge (or charges) against me, by evidence, beyond a reasonable
doubt.

|

Done:

4. understand that, at a jury trial, | would be entitled to numerous rights, including the
following:

a. the right to be represented by Constitutionally adequate counsel;

b. the right to have all witnesses who testify for the Government to come forward and

testify under oath, in open court, so that I may see, hear, and confront them;
c. the right, through counsel, to cross-examine each witness who has testified for the
_ Government — to ask them questions concerning any matter that might be relevant

to the charge (or charges) against me or my defense, including matters that might be
helpful to the jury in evaluating the credibility (or believability) of the witnesses:

Page 6 of 9

QP

 
USCAL) Gas6318:64927-cL SOAP Boeiinedt dF HRs 87/2869 'Bagd FF 998 Of 84

d. the right to call witnesses to testify on my behalf, and to use the subpoena power of
the court to compel witnesses to come forward and give evidence in defense of the
charge (or charges) against me;

€. the right to decline to testify, unless I voluntarily elect to do so — in other words, that
I could not be forced to testify by the court or anyone else, and that the decision of
whether to testify is a matter left entirely to me; and,

f. the right to testify on my own behalf, if J voluntarily elect to do so. I also understand,
however, that if I elect to testify on my own behalf, I would be placed under oath,
and, that I would be subject to cross-examination by the attorney for the United
States Government.

Done: Phy)

5. I further understand that, if I elected not to testify at a trial, or even to offer any
evidence in defense of the charge (or charges) against me, those facts could not be taken adversely
to me by the jury, or by a judge in a non-jury trial.

Done: f 4

6. I understand that, by entering a plea (or pleas) of guilty, I am waiving, or giving up,
all of the foregoing rights — specifically:

a. the right to trial by jury;
b. the presumption that I am innocent of the charge (or charges) against me;

c. the right to compel the Government to prove each element of each charge against me
by evidence, beyond a reasonable doubt;

d. the right to confront and cross-examine each witness against me;

e. the right to subpoena witnesses to testify on my own behalf; and,

f the right to testify on my own behalf, if I voluntarily elect to do so.

Done: f }

7. I understand that, by pleading guilty, | am not waiving, or giving up, the right to be

represented by Constitutionally adequate counsel in all further proceedings herein, including the
sentencing hearing and any post-sentencing proceedings, such as an appeal.

Done:

Page 7 of 9

SAL

 
USCAL Castial§-d492P cL DARUBEHS BE ne RAP THR BISARP” Bagh QFE of 84

F. Explanation of Charge(s)

1. I confirm that I have had ample time to discuss this case with my attorney, and, that
I have told him or her everything I know about the facts, in order that my attorney could prepare
himself or herself to represent me, and to defend me, to the best of his or her professional abilities,
if I elected to plead “not guilty” and proceeded to trial.

Done:

|

2. I further confirm that my attorney has explained each element of each charge to which
I am entering a plea of guilty, and that I understand those facts the Government must prove, by
evidence, beyond a reasonable doubt, if I elected to plead “not guilty” and proceeded to trial.

P

Done:

3. Even though I am waiving, or giving up, my right to a trial, J understand that the court
will not accept my plea (or pleas) of guilty until the court has made such inquiry as it may deem
appropriate to satisfy itself that there is a factual basis for the plea (or pleas) of guilty.

Done:

P

4. I understand that, if my plea (or pleas) of guilty are accepted by the court, only two
things remain to be done: first, a presentence investigation will be conducted by a United States
Probation Officer; and second, not sooner than 35 days after the presentence report is disclosed to
me, unless I choose to waive the 35 day period, the court will impose sentence.

Done: f

ae

G. Certification of Defendant

I hereby certify that I have read all of the preceding parts of this form, or that my attorney has
read the entire form to me. I further certify that my attorney has explained to me, in detail, and to
my personal satisfaction, each of the matters set out above, and that I do not have any questions
about my rights. I also certify that I am satisfied with the representation my attorney has provided
me, and that I have no complaints about any aspect of his or her representation of me. I further
certify that I am not under the influence of any alcoholic beverage, intoxicating liquor, drugs,
medication, or other substance that affected my ability to comprehend or understand all of the
matters set out above. Finally, I certify that | am entering my plea (or pleas) of guilty because I am
in fact guilty, and I request that the court accept my plea (or pleas).

Dafe Signature of Defendant

H. Certification of Counsel

Page 8 of 9

Q v5

 
USCAL Gaggia 15:-64929-c1 BRB Bodine AT THRE O5/9809 Bagh 3GPa40 of 84

As counsel of record for the above named defendant, I hereby certify that:

1. I have discussed with the defendant, in detail, each of the matters set out above;

2. I have observed the defendant today, prior to the plea proceeding, and I am aware of
no reason why the defendant is not competent to enter a plea (or pleas) of guilty at this time; and,

3. Tam aware of no reason, at this time, why the defendant’s plea (or pleas) of guilty
should not be accepted by the court.

28 Wn OF
Date

 

Page 9 of 9

 
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 41 of 84

 
USCACA SES 68-67-00247.cL ESB Bodtinent IF HRY OS/0SHEP 'Bagd FP5** Of 84 FILED

2010 Aug-09 PM 03:20
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 1 - Judgment in a Criminal Case U.S. DISTRICT COURT
STOP REABAMA

 

UNITED STATES DISTRICT COURT
Northern District of Alabama

UNITED STATES OF AMERICA
Vv. Case Number CR 08-S-247-NE
JOHN LAWSON SIMONS

Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant, JOHN LAWSON SIMONS, was represented by Marcus Helstowski.

The defendant pleaded guilty to counts one through twelve. Accordingly, the defendant is adjudged guilty
of the following counts, involving the indicated offenses:

 

Title & Section Nature of Offense Count Number(s)
18 U.S.C.§ 2252A(a)(5)(B) Possession of Child Pornography 4

18 U.S.C. § 2423(b) Travel With Intent to Engage in a Sexual Act With a Minor 2 through 10
18 U.S.C. § 2423(a) Transportation With intent to Engage in Criminal Sexual Activity 11

18 U.S.C. § 2551(a) Production of Child Pornography 12

As pronounced on June 29, 2010, the defendant is sentenced as provided in pages 2 through 5 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay to the United States a special assessment of $1,200.00, for
counts one through twelve, which shall be due immediately.

It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this Judgment are fully paid.

Signed this the 9th day of August, 2010.

¥

 

UnttedStates District Judge

 
USCAL GA86 818-6494? cl ROME Bodine tS es bsids/£o | Bagd 599 548 of 84

AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 2- imprisonment

 

Judgment--Page 2 of 5
Defendant: JOHN LAWSON SIMONS
Case Number: CR 08-S-247-NE
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for aterm 10 years as to Count 1 and 30 years as to Counts Two through Twelve, separately, with each count to
run concurrently with the other. The sentences imposed by this judgment shall also run concurrently with the
sentences imposed in Northern District of Alabama Case Number CR 08-S-408-NE.

The Court makes the following recommendations to the Bureau of Prisons: Defendant be designated to
a facility to obtain mental health counseling and therapy.

The defendant is remanded fo the custody of the United States Marshal.

RETURN

| have executed this Judgment as follows:

 

 

 

 

Defendant delivered on to at
_ with a certified copy of this Judgment.

 

United States Marshal

By

 

Deputy Marshal

 
USCA EL G88! e-00949-c QOFMBe Bottimel RAS HASH Balds/£0 | Page 8¥F'5"4 Of 84

AO 245 §S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Supervised Release

Defendant: JOHN LAWSON SIMONS

Judgment--Page 3 of 5

Case Number: CR 08-S-247-NE

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of Life. The

Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions of
supervised release.

STANDARD CONDITIONS OF SUPERVISED RELEASE

While the defendant is on supervised release pursuant to this Judgment:

1)

2)
3)

4)

5)
8)

7)

8)

9)
10)

41)
12)
13)
14)

15)

16)

The defendant shall not commit another federal, state or local crime; specifically, the defendant shall not illegally possess a controlled
substance and shall not own or possess a firearm or destructive device. ,

The defendant shail not leave the judicial district without permission of the Court or probation officer.

The defendant shall report to the probation officer as directed by the Court or probation officer.and shall submit a truthful and complete
written report within the first five (5) days of.each month.

The defendant shall answer truthfully all inquiries by the probation officer, shall provide the probation officer access to requested financial
information, and shall follow the instructions of the probation officer.

The defendant shall support his or her dependents and meet other family responsibilities.

The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
acceptable reasons.

The defendant shail notify the probation officer ten (10) days prior to any change in residence or employment. (On change of residence
to a new jurisdiction of a person convicted either of a crime of violence or of a drug trafficking offense, the Probation Office is responsible
for complying with the notice provisions of 18 U.S.C. § 4042(b).) ,

The defendant shall refrain from excessive use of alcohol, except that a defendant while in the Drug and Alcohol Intensive Counseling

" and Aftercare Service Program (DAICASP) (or comparable program in another district) shall consume no alcohol. The defendant shall

not purchase, possess, use, distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances.

The defendant shail not frequent places where controlled substances are illegally sold, used, distributed, or administered.

The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
a felony unless granted permission to do so by the probation officer.

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view by the probation officer. .

The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
officer.

The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the Court.

The defendant shall comply with any directions from the probation officer to serve notice of third party risks the defendant may pose,
and shall cooperate with the officer's efforts to confirm compliance.

The defendant shall comply with the probation office's Policies and Procedures Concerning Court Ordered Financial Obligations to satisfy
the balance of any monetary obligation resulting from the sentence imposed in the case. Further, the defendant shall notify the probation
office of any change in the defendant's economic circumstances that might affect the defendant's ability to pay a fine, restitution, or
assessment fee. If the defendant becomes more than 60 days delinquent in payments of financial obligations, the defendant may be
(a) required to attend a financial education or employment preparation program under the administrative supervision the probation
officer, (b) placed on home confinement subject to electronic monitoring for a maximum period of 90 days under the administrative
supervision of the probation officer (with the defendant to pay the cost of monitoring unless the probation officer determines that the
defendant does not have the ability to do so), and/or (c) placed in a community corrections center for up to 180 days under the
administrative supervision of the probation officer (with the defendant to pay the cost of subsistence unless the probation officer
determines that the defendant does not have the ability to do so).

Unless excused by a special condition of probation or supervised release in the Judgment or by a subsequent court order, the defendant
shall comply with 18 U.S.C. § 3563 (a) (probation) or § 3583 (d) (supervised release) regarding mandatory drug testing (with the
defendant to contribute to the cost of drug testing unless the probation officer determines that the defendant does not Have the ability
to do so). A positive urinalysis may result in the defendant's placement in the probation office‘s Drug and Alcohol intensive Counseling
and Aftercare Service Program (DAICASP) (or comparable program in another district) under the administrative supervision of the
probation officer. °

 
USCAGL 6256 81G-66947-cLSOFMBe Boehmer as HR B/dS770 | Bag? aGe5ts of 84

AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Continuation of Standard Conditions of Supervised Release

Judgment--Page 4 of 5

Defendant: JOHN LAWSON SIMONS
Case Number: CR 08-S-247-NE

(17)

(18)

(18)
(20)

(21)

(22)

CONTINUATION OF STANDARD CONDITIONS OF SUPERVISED RELEASE

Upon imposition of the special condition by the Court or upon a court order entered during the period of probation or supervision for good
cause shown, the defendant shall be placed in the Drug and Alcohol Intensive Counseling and Aftercare Service Program (DAICASP)
(or comparable program in another district) based upon a history of drug or alcohol abuse, a positive urinalysis, or evidence of excessive
use of alcohol. This program includes (a) testing by the probation officer or an approved vendor to detect drug or alcoho! abuse; (b) a
drug treatment program which includes education, individual or group counseling, or residential treatment, provided by the probation
office or an approved vendor; (c) placement in a community corrections center (halfway house) for up to 270 days; and/or (d) home
confinement subject to electronic monitoring for up to 180 days. Participation in the program shall be under the administrative
supervision of the probation officer, and the defendant shall contribute to the costs of participation unless the probation officer
determines that the defendant does not have the ability to do so.

The defendant may be placed in the probation office's computer restriction/monitoring program (or comparable program in another
district) by virtue of a special condition of probation or supervised release contained in the Judgment. This program may include the
following: (a) The defendant shall not possess or use any computer or portable electronic device which has the capability of.
communicating with any other electronic device without the prior approval of the probation officer or the Court. This includes, butis not
limited to, any computer, personal digital assistant, satellite equipment, cellular telephone, or services such as computer on-line bulletin
board services and/or internet service. The defendant shall notify the probation officer before altering or effecting repairs to any
computer he uses. (b) The defendant shall permit the probation officer to conduct periodic, unannounced examinations of any computer
and computer-related equipment the defendant uses, other than equipment owned by his/her employer that is maintained at a place
of employment other than the defendant's home. The examination may include the retrieval and copying of all data from the computer,
and internal or external peripheral equipment, and any software. (c) The defendant, under the administrative supervision of the
probation officer, shall allow, at his expense, the installation of any hardware/software on any computer system he uses, other than
equipment owned by his employer, to monitor his/her computer use (and/or to prevent access to prohibited materials), and he/she shall
submit to such monitoring. The defendant shall consent to the placement of a notice on any computer upon which monitoring
hardware/software is installed to warn others of the existence of the monitoring. (d) The defendant shall not use any computer or
computer-related equipment owned by his/her employer except for strict benefit of his empfoyerin the performance of his/her job-related
duties. (e) The defendant shall consent to third-party disclosure to any employer or potential employer of any computer-related
restrictions which have been imposed upon him/her. (f) The defendant shall provide the U.S. Probation Office with accurate information
about all hardware and software which comprise any computer system he/she uses; all passwords used by the defendant, and
information pertaining to all internet service providers used by the defendant, whether specifically subscribed by the defendant or not.
The defendant shall provide written authorization for release of information from the defendant's internet service provider. (g) The
defendant shall furnish his/her personal and business telephone records to the probation officer upon request. Furthermore, the
defendant shall provide the probation officer with written authorization for release of information from the defendant's telephone service
provider. (h) The defendant shail not possess or use any type of data encryption or stenography software or technique. The defendant
shail not alter, delete, or hide records pertaining to computer access, retrieval, or storage.

The defendant shall cooperate in the collection of DNA under the administrative supervision of the probation officer.

\f ordered to a period of supervised release after incarceration, the defendant shall report in person, within 72 hours of release from the
custody of the Bureau of Prisons, to the probation office in the district where the defendant is released.

For a defendant convicted for the first time of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall attend
a public, private, or private non-profit offender rehabilitation program approved by the court and under the administrative supervision
of the probation office, if an approved program is available within a 50-mile radius of the defendant's legal residence.

For any defendant required to register under the Sex Offender Registration and Notification Act, the defendant shall comply with the
terms of the Act under the administrative supervision of the probation officer. Specifically, the defendant, if convicted of a sexual offense
as described in 18 U.S.C. § 4042(c)(4) shall report the address where the defendant will reside and any subsequent change of residence
to the probation office, and shall register as a sex offender in any State where the defendant resides, is employed, carries on a vocation,
or is a student.

 
USCAEh&A6-H81e-00249-CSOFMBC Boeiment als Hed 88/09/20 | Page 8QF 576 Of 84

AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 (cont'd) - Supervised Release

Judgment--Page 5 of 5

Defendant: JOHN LAWSON SIMONS
Case Number: CR 08-S-247-NE

SPECIAL CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this Judgment:

1)

2)
3)
4)
5)
8)

?)

8)

The defendant shall participate, under the administrative supervision of the probation officer, in the probation office’s computer
restriction/monitoring program (or a comparable program in the district of supervision). (See the standard conditions for a brief
description of possible terms of participation.)

The defendant shall not have any unsupervised, one-to-one contact with any children under the age of 18 other than his own children.
The defendant shall not engage in any occupation, employment, or volunteer activities which would place him in a position of trust with
children under the age of 18.

The defendant shall register and comply with all Community Notification Act requirements and any then applicable local, state, or federal
Jaw dealing with the monitoring of those convicted of sex-related offenses.

The defendant shall allow the probation officer access to any photographs and/or video recordings he may possess.

Pursuant to the Adam Walsh Child Protection Act of 2006, the defendant shall register as a sex offender not later than three (3) business
days from release, if placed on supervised release, or sentencing, if placed on probation. The defendant shall keep the registration
current in each jurisdiction in which he resides, is employed, or is a student. The defendant shall, not later than three (3) business days
after each change in name, residence, employment, or student status, appear in person in at least one jurisdiction in which the
defendant is registered and inform that jurisdiction of all changes in the information. Failure to do so may not only be a violation of this
condition but also may be a new federal offense punishable by up to ten (10) years imprisonment.

The defendant, being a felon and being required to register under the Sex Offender Registration and Notification Act, shall submit his
person, and any property, house, residence, vehicle, papers, computer, other electronic communications or data storage devices or
media, and effects to search at any time, with or without a warrant, by any law enforcement or probation officer with reasonable
suspicion concerning a violation of a condition of supervised release or unlawful conduct by the person, and by any probation officer
in the lawful discharge of the officer's supervision functions.

The defendant shall participate in an approved mental health treatment program specializing in sex offender treatment under the
administrative supervision of the probation officer. This program may include a psycho-sexual evaluation; family, group, and/or individual
counseling; and psychological and clinical polygraph testing. The results of the polygraph examinations may not be used as evidence
in Court for the purpose of revocation of supervision, but may be considered in a hearing to modify conditions of release. While
participating In treatment, the defendant shall abide by all rules and requirements of the program. The defendant shall contribute to
the cost of treatment and polygraph testing unless the probation officer determines that the defendant does not have the ability to do
so.

 
USCA11 Case: 15-11928 Documen t:28 Date Filed: 05/13/2016 Page: 47 of 84

5:08-CR-00408-CLS-TMP
(CR. B)

 
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 48 of 84

 
USCA GaGesus-erieitt-ciRamupentctiimehteic Filed 107287080 HageHaacs 49 of 84 FILED

2008 Oct-29 PM 12:42
U.S. DISTRICT. COURT
N.D. OF ALABAMA

AHM/MSB: NOV 2008
GJ#4

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ALABAMA

NORTHEASTERN DIVISION

 

UNITED STATES OF AMERICA )
)
v. )
)
JOHN LAWSON SIMONS )
INDICTMENT

COUNT ONE: [18 U.S.C. § 1470]

The Grand Jury charges:

That on or about the 10" day of July, 2002, a more exact date being unknown
to the Grand Jury, in Madison County, within the Northern District of Alabama, and
elsewhere, the defendant,

JOHN LAWSON SIMONS,
did, using any facility and means of interstate commerce, knowingly transfer obscene
matter to R.R., who had not attained the age of 16 years, knowing that R.R. had not
attained the age of 16 years, in violation of Title 18, United States Code,

Section 1470.

 
USCA GaGa ssid 27d hiiB-cROIME BoimehAle Filed 107287080 Bage'Zae1es 50 of 84

COUNT TWO: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 17" and the 22™ day of July, 2002, a more exact
date being unknown to the Grand Jury, in Madison County, within the Northern
District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,
traveled in interstate commerce from Alabama to Florida, for the purpose of engaging
in any sexual act, as defined in Title 18, United States Code, Section 2246(2), with
M.L., a person under 18 years of age, which sexual act would be in violation of
- Title 18, United States Code, Section 2243(a) if the sexual act had occurred in the
special maritime and territorial jurisdiction of the United States, all in violation of

Title 18, United States Code, Section 2423(b).

COUNT THREE: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 6" and the 9" day of August, 2002, a more exact
date being unknown to the Grand Jury, in Madison County, within the Northern
District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,

 
USCA 11, Ga8 ie Fi IRB. ciROPMIBE Nice melee File@ 10726080 Page Bagi 51 of 84

traveled in interstate commerce from Alabama to Florida, for the purpose of engaging
in any sexual act, as defined in Title 18, United States Code, Section 2246(2), with
M.L., a person under 18 years of age, which sexual act would be in violation of
Title 18, United States Code, Section 2243(a) if the sexual act had occurred in the
special maritime and territorial jurisdiction of the United States, all in violation of

Title 18, United States Code, Section 2423(b).

COUNT FOUR: [18 U.S.C. § 1470]

The Grand Jury charges:

That on or about the 13" day of September, 2002, a more exact date being
unknown to the Grand Jury, in Madison County, within the Northern District of
Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,
did, using any facility and means of interstate commerce, knowingly transfer obscene
matter to M.D., who had not attained the age of 16 years, knowing that M.D. had not
attained the age of 16 years, in violation of Title 18, United States Code,

Section 1470.

 
USCA 1A easfag 211dG8%-CcPOIMiE BGaimeHBIE Pied: 2287080 'BageAges 52 of 84

COUNT FIVE: (18 U.S.C. § 2251(a))

The Grand Jury charges:

That in or about April, 2005, a more exact date being unknown to the Grand
Jury, in Madison County, within the Northern District of Alabama, and elsewhere,
the defendant,

JOHN LAWSON SIMONS,

did employ, use, persuade, induce, and entice a minor, R.B., to engage in sexually
explicit conduct for the purpose of producing a visual depiction of such conduct,
knowing and having reason to know that such visual depiction would be transported

in interstate commerce, in violation of Title 18, United States Code, Section 2251 (a),

COUNT SIX: (18 U.S.C. § 2252A(a)(1))
"The Grand Jury charges:

That on or about the 23 day of November, 2005, a more exact date being
unknown to the Grand Jury, in Madison County, within the Northern District of
Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,
did knowingly transport and ship in interstate and foreign commerce by computer,

child pornography, in violation of Title 18, United States Code, Section 2252A(a)(1).

 
USCA 1668808 Sr 1dGA58-cROIIE BaeiimeRele Filed: 107287680 'BageltAges 99 Of 84

COUNT SEVEN: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about the 22™ day of March, 2008, a more exact date being
unknown to the Grand Jury, in Madison County, within the Northern District of
Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,
traveled in interstate commerce from Alabama to Tennessee, for the purpose of
engaging in any sexual act, as defined in Title 18, United States Code, Section
2246(2), with A.W., a person under 18 years of age, which sexual act would be in
violation of Title 18, United States Code, Section 2243(a) if the sexual act had
occurred in the special maritime and territorial jurisdiction of the United States, all

in violation of Title 18, United States Code, Section 2423(b).

COUNT EIGHT: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about the 2" day of April, 2008, a more exact date being unknown
to the Grand Jury, in Madison County, within the Northern District of Alabama, and
elsewhere, the defendant,

JOHN LAWSON SIMONS,
traveled in interstate commerce from Alabama to Tennessee, for the purpose of
engaging in any sexual act, as defined in Title 18, United States Code, Section

2246(2), with A.W., a person under 18 years of age, which sexual act would be in

 
USCA d.Ca dS: 14ARS-cROTHIB BAe ee EGA RPSEUR? Wage BaF Of 84

violation of Title 18, United States Code, Section 2243(a) if the sexual act had
occurred in the special maritime and territorial jurisdiction of the United States, all

in violation of Title 18, United States Code, Section 2423(b).

COUNT NINE: [18 U.S.C. § 2423(b)]

The Grand Jury charges:

That on or about between the 14" and the 15" day of June, 2008, a more exact
date being unknown to the Grand Jury, in Madison County, within the Northern -
District of Alabama, and elsewhere, the defendant,

JOHN LAWSON SIMONS,
traveled in interstate commerce from Alabama to Tennessee, for the purpose of
engaging in any sexual act, as defined in Title 18, United States Code, Section
2246(2), with A.W., a person under 18 years of age, which sexual act would be in
violation of Title 18, United States Code, Section 2243(a) if the sexual act had
occurred in the special maritime and territorial jurisdiction of the United States, all

in violation of Title 18, United States Code, Section 2423(b).

COUNT TEN: [18 US.C. § 2423(a)]
The Grand Jury charges:
That on or about between the 16" and the 19" day of June, 2008, a more exact
date being unknown to the Grand Jury, in Madison County, within the Northern

District of Alabama, the defendant,

 
USCA (1. Casal er-o0de-ci ror MnBe Bottimehtte Filed 18728780 Page AHS °° of 84

!

JOHN LAWSON SIMONS,
knowingly transported A.W., an individual who had not attained the age of 18 years,
in interstate commerce from Tennessee to Alabama, with intent of A.W. engaging in
any sexual activity for which any person can be charged with a criminal offense, in

violation of Title 18, United States Code, Section 2423(a).

COUNT ELEVEN : (18 U.S.C. §§ 2253)

The Grand Jury charges that:

1. The allegations of Counts Seven, Eight, Nine and Ten of this Indictment
are realleged and incorporated by reference as though set forth fully herein for the
purpose of alleging forfeiture to the United States pursuant to the provisions of Title
18, United States Code, Section 2253(a)(3).

2. Pursuant to’ Rule 32.2(a) FED.R.CRIM.P., the defendant is hereby
notified that, upon conviction of the offenses alleged in Counts Seven, Eight, Nine
and Ten of this Indictment, the defendant,

JOHN LAWSON SIMONS,
shall forfeit to the United States pursuant to 18 U.S.C. §2253(a)(3), any property, real
or personal, used or intended to be used to commit or to promote the commission of
such offense.

3. If any of the above-described forfeitable property, as a result of any act
or omission of the defendant:

a. cannot be located upon the exercise of due diligence,

b. has been transferred or sold to, or deposited with, a third party;

7

 
USCA 1 C8 od erd005B- CLOT baciimentl° led SEAR? Bogda OF 84

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided —
without difficulty;

it is the intent of the United States, pursuant to 18 U.S.C. §2253(o), to seek forfeiture
of any other property of said defendant up to the value of the forfeitable property
described above.

All in accordance with Title 18, United States Code, Section 2253(a)(3). °

A TRUE BILL

/s/ electronic signature

FOREMAN OF THE GRAND JURY ALICE H. MARTIN
United States Attorney

J Maury art Durrell
MARY STUART BURRELL
Assistant United States Attorney

 
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 57 of 84

 
USCACASeF881ct-06988-CLESAUP Boctinertt #F Ele Bron Page POPES Of 84 FILED

2010 Aug-10 PM 03:05
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 1 - Judgment in a Criminal Case U.S, DISTRICT COURT
= hB-GFAEABAMA

UNITED STATES DISTRICT COURT
Northern District of Alabama

UNITED STATES OF AMERICA
Vv. Case Number CR 08-S-408-NE
JOHN LAWSON SIMONS

Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant, JOHN LAWSON SIMONS, was represented by Marcus Helstowski.

The defendant pleaded guilty to counts one through eleven. Accordingly, the defendant is adjudged guilty
of the following counts, involving the indicated offenses:

 

Title & Section Nature of Offense Count Number(s)
18 U.S.C. § 1470 Transfer of obscene Material to a Minor 1 and 4

18 U.S.C. § 2423(b) Travel With Intent to Engage in a Sexual Act With a Minor 2,3,7,8and9
18 U.S.C. § 2261(a) Production of Child Pornography 5

18 U.S.C. § 2252A(a)(1) Transportation of Child Pornography 6

18 U.S.C. § 2423(a) Transportation with Intent to Engage in a Sexual Act With a Minor 10

18 U.S.C. § 2253 Criminal Forfeiture 11

As pronounced on June 29, 2010, the defendant is sentenced as provided in pages 2 through 6 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay to the United States a special assessment of $1,000.00, for
counts one through ten, which shall be due immediately.

Itis further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this Judgment are fully paid.

Signed this the 9th day of August, 2010.

 

United tates District Judge

 
USCAGL Gas l5-64988-c1 BOMB CBE ner ae Fe ODLHRD | Bag AGP B59 of 84

.AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 2 - Imprisonment

 

Judgment--Page 2 of 6
Defendant: JOHN LAWSON SIMONS
Case Number: CR 08-S-408-NE

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of the defendant's life as to Count 10; 30 years as to Counts 2, 3, 5, 7 , 8 and 9; 20 years as to Count
6; and 10 years as to Count 1 and 4, separately, with all counts to run concurrently with the other. The sentences
imposed herein shall also run concurrently with the sentence imposed in Northern District of Alabama Case
Number CR 08-S-247-NE.

The Court makes the following recommendations to the Bureau of Prisons: Defendant be designated to
a facility to obtain mental health counseling and therapy.

The defendant is remanded to the custody of the United States Marshal.

RETURN

i have executed this Judgment as follows:

 

 

 

 

Defendant delivered on to at
, with a certified copy of this Judgment.

 

 

United States Marshal

By

 

Deputy Marshal

 
USCACKS625:0816-00968-cLBoeMmeniadinerPate Tie OSAIGVED | Page’a.ge 660 of 84

AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Supervised Release

Judgment--Page 3 of 6

Defendant: JOHN LAWSON SIMONS
Case Number: CR 08-S-408-NE

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of Life as to

Counts 2 through 10 and 3 years as to Count 1 and 4, separately, to run concurrently with the other and
concurrently with case number CR 08-S-247-NE. The Probation Office shall provide the defendant with a copy
of the standard conditions and any special conditions of supervised release.

STANDARD CONDITIONS OF SUPERVISED RELEASE

While the defendant is on supervised release pursuant to this Judgment:

1)

2)
3)

4)

5)
§)

7)

8)

9)
10)

11)
12)
13)
14)

15)

16)

The defendant shall not commit another federal, state or local crime; specifically, the defendant shall not illegally possess a controlled
substance and shall not own or possess a firearm or destructive device.

The defendant shall not leave the judicial district without permission of the Court or probation officer.

The defendant shail report to the probation officer as directed by the Court or probation officer and shail submit a truthful and complete
written report within the first five (5) days of each month.

The defendant shall answer truthfully all inquiries by the probation officer, shall provide the probation officer access to requested financial
information, and shall follow the instructions of the probation officer.

The defendant shall support his or her dependents and meet other family responsibilities.

The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
acceptable reasons. .

The defendant shall notify the probation officer ten (10) days prior to any change in residence or employment. (On change of residence
to anew jurisdiction of a person convicted either of a crime of violence or of a drug trafficking offense, the Probation Office is responsible
for complying with the notice provisions of 18 U.S.C. § 4042(b).)

The defendant shall refrain, from excessive use of alcohol, except that a defendant while in the Drug and Alcohol Intensive Counseling
and Aftercare Service Program (DAICASP) (or comparable program in another district) shall consume no alcohol. The defendant shall
not purchase, possess, use, distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances.

The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

The defendant shail not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
a felony unless granted permission to do so by the probation officer.

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shail permit confiscation of any
contraband observed in plain view by the probation officer.

The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
officer.

The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the Court.

The defendant shall comply with any directions from the probation officer to serve notice of third party risks the defendant may pose,
and shall cooperate with the officer's efforts to confirm compliance.

The defendant shall comply with the probation office's Policies and Procedures Concerning Court Ordered Financial Obligations to satisfy
the balance of any monetary obligation resulting from the sentence imposed in the case. Further, the defendant shall notify the probation
office of any change in the defendant's economic circumstances that might affect the defendant's ability to pay a fine, restitution, or
assessment fee. If the defendant becomes more than 60 days delinquent in payments of financial obligations, the defendant may be
(a) required to attend a financial education or employment preparation program under the administrative supervision the probation
officer, (b) placed on home confinement subject to electronic monitoring for a maximum period of 90 days under the administrative
supervision of the probation officer (with the defendant to pay the cost of monitoring unless the probation officer determines that the
defendant does not have the ability to do so), and/or (c) placed in a community corrections center for up to 180 days under the
administrative supervision, of the probation officer (with the defendant to pay the cost of subsistence unless the probation officer
determines that the defendant does not have the ability to do so).

Unless excused by a special condition of probation or supervised release in the Judgment or by a subsequent court order, the defendant
shall comply with 18 U.S.C. § 3563 (a) (probation) or § 3583 (d) (supervised release) regarding mandatory drug testing (with the
defendant to contribute to the cost of drug testing unless the probation officer determines that the defendant does not have the ability
to do so). A positive urinalysis may result in the defendant's placement in the probation office's Drug and Alcohol intensive Counseling
and Aftercare Service Program (DAICASP) (or comparable program in another district) under the administrative supervision of the
probation officer.

 
USCACES980818-00988-CLSopMIPe DodGmentale FHinsy 68/16/20 1 Page awe 66! of 84

AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Continuation of Standard Conditions of Supervised Release

 

Judgment--Page 4 of 6

Defendant: JOHN LAWSON SIMONS
Case Number: CR 08-S-408-NE

(17)

(18)

(19)
(20)

(24)

(22)

CONTINUATION OF STANDARD CONDITIONS OF SUPERVISED RELEASE

Upon imposition of the special condition by the Court or upon a court order entered during the period of probation or supervision for good
cause shown, the defendant shall be placed in the Drug and Alcohol Intensive Counseling and Aftercare Service Program (DAICASP)
(or comparable program in another district) based upon a history of drug or alcohol abuse, a positive urinalysis, or evidence of excessive
use of alcohol. This program includes (a) testing by the probation officer or an approved vendor to detect drug or alcohol abuse; (b) a
drug treatment program which includes education, individual or group counseling, or residential treatment, provided by the probation
office or an approved vendor; (c) placement in a community corrections center (halfway house) for up to 270 days; and/or (d) home
confinement subject to electronic monitoring for up to 180 days. Participation in the program shall be under the administrative
supervision of the probation officer, and the defendant shall contribute to the costs of participation unless the probation officer
determines that the defendant does not have the ability to do so.

The defendant may be placed in the probation office's computer restriction/monitoring program (or comparable program in another
district) by virtue of a special condition of probation or supervised release contained in the Judgment. This program may include the
following: (a) The defendant shall not possess or use any computer or portable electronic device which has the capability of
communicating with any other electronic device without the prior approval of the probation officer or the Court. This includes, but is not
limited to, any computer, personal digital assistant, satellite equipment, cellular telephone, or services such as computer on-line bulletin
board services and/or internet service. The defendant shall notify the probation officer before altering or effecting repairs to any
computer he uses. (b) The defendant shall permit the probation officer to conduct periodic, unannounced examinations of any computer
and computer-related equipment the defendant uses, other than equipment owned by his/her employer that is maintained at a place
of employment other than the defendant's home. The examination may include the retrieval and copying of all data from the computer,
and internal or external peripheral equipment, and any software. (c) The defendant, under the administrative supervision of the
probation officer, shall allow, at his expense, the installation of any hardware/software on any computer system he uses, other than
equipment owned by his employer, to monitor his/her.computer use (and/or to prevent access to prohibited materials), and he/she shall
submit to such monitoring. The defendant shall consent to the placement of a notice on any computer upon which monitoring
hardware/software is installed to warn others of the existence of the monitoring. (d) The defendant shall not use any computer or
computer-related equipment owned by his/her employer except for strict benefit of his employer in the performance of his/her job-related
duties. (e) The defendant shall consent to third-party disclosure to any employer or potential employer of any computer-related
restrictions which have been imposed upon him/her. (f) The defendant shall provide the U.S. Probation Office with accurate information
about all hardware and software which comprise any computer system he/she uses; all passwords used by the defendant, and
information pertaining to all internet service providers used by the defendant, whether specifically subscribed by the defendant or not.
The defendant shall provide written authorization for release of information from the defendant's internet service provider. (g) The
defendant shall furnish his/her personal and business telephone records to the probation officer upon request. Furthermore, the
defendant shall provide the probation officer with written authorization for release of information from the defendant's telephone service
provider. (h) The defendant shall not possess or use any type of data encryption or stenography software or technique. The defendant
shall not alter, delete, or hide records pertaining to computer access, retrieval, or storage.

The defendant shall cooperate in the collection of DNA under the administrative supervision of the probation officer.

If ordered to a period of supervised release after incarceration, the defendant shall report in person, within 72 hours of release from the
custody of the Bureau of Prisons, to the probation office in the district where the defendant is released.

For a defendant convicted for the first time of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shail attend
a public, private, or private non-profit offender rehabilitation program approved by the court and under the administrative supervision
of the probation office, if an approved program is available within a 50-mile radius of the defendant's legal residence.

For any defendant required to register under the Sex Offender Registration and Notification Act, the defendant shall comply with the
terms of the Act under the administrative supervision of the probation officer. Specifically, the defendant, if convicted of a sexual offense
as described in 18 U.S.C. § 4042(c)(4) shall report the address where the defendant will reside and any subsequent change of residence
to the probation office, and shall register as a sex offender in any State where the defendant resides, is employed, carries on a vocation,
or is a student.

 
USCACS8-81.8-00988-CcLROFMBCBoeimet ate HRY 68/16/20 | Pagh BaP 662 of 84

AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 (cont'd) - Supervised Release

Judgment--Page 5 of 6

Defendant: JOHN LAWSON SIMONS
Case Number: CR 08-S-408-NE

SPECIAL CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this Judgment:

1)
2)
3)
4)

5)
6)

8)

The defendant shall participate, under the administrative supervision of the probation officer, in the probation office's computer
restriction/monitoring program (or a comparable program in the district of supervision). (See the standard conditions for a brief
description of possible terms of participation.)

The defendant shall not have any unsupervised, one-to-one contact with any children under the age of 18 other than his own children.
The defendant shall not engage in any occupation, employment, or volunteer activities which would place him in a position of trust with
children under the age of 18.

The defendant shall register and comply with all Community Notification Act requirements and any then applicable local, state, or federal
law dealing with the monitoring of those convicted of sex-related offenses.

The defendant shail allow the probation officer access to any photographs and/or video recordings he may possess.

Pursuant to the Adam Walsh Child Protection Act of 2006, the defendant shall register as a sex offender not later than three (3) business
days from release, if placed on supervised release, or sentencing, if placed on probation. The defendant shall keep the registration
current in each jurisdiction in which he resides, is employed, or is astudent. The defendant shall, not later than three (3) business days
after each change in name, residence, employment, or student status, appear in person in at least one jurisdiction in which the
defendant is registered and inform that jurisdiction of all changes in the information.. Failure to do so may not only be a violation of this
condition but also may be a new federal offense punishable by up to ten (10) years imprisonment.

The defendant, being a felon and being required to register under the Sex Offender Registration and Notification Act, shall submit his
person, and any property, house, residence, vehicle, papers, computer, other electronic communications or data storage devices or
media, and effects to search at any time, with or without a warrant, by any law enforcement or probation officer with reasonable
suspicion concerning a violation of a condition of supervised release or unlawful conduct by the person, and by any probation officer
in the lawful discharge of the officer's supervision functions.

The defendant shall participate in an approved mental health treatment program specializing in sex offender treatment under the
administrative supervision of the probation officer. This program may include a psycho-sexual evaluation; family, group, and/or individual
counseling; and psychological and clinical polygraph testing. The results of the polygraph examinations may not be used as evidence
in Court for the purpose of revocation of supervision, but may be considered in a hearing to modify conditions of release. While
participating in treatment, the defendant shall abide by all rules and requirements of the program. The defendant shall contribute to
the cost of treatment and polygraph testing unless the probation officer determines that the defendant does not have the ability ta do
so.

 
USCAE) S65 B81 e¥-00868-CLESRMB> Boetimelt ae Hfet 08/18/29 Page BYP EES OF 84

AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 6 - Restitution and Forfeiture

 

Judgment--Page 6 of 6
Defendant: JOHN LAWSON SIMONS
Case Number: CR 08-S-408-NE

RESTITUTION AND FORFEITURE

_ FORFEITURE
The defendant is ordered to forfeit the following property to the United States:

Property as set out in Count Eleven and the Order of Forfeiture entered contemporaneously herewith.

 
USCA11 Case: 15-11928 Documen t:28 Date Filed: 05/13/2016 Page: 64 of 84

5:11-CV-08027-CLS-TMP
(CV. A)

 
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 65 of 84

 
2015 Mar-31 PM 03:52
U.S. DISTRICT COURT
N.D. OF ALABAMA

USCAC ASSET 1 8-08027-cLSOFMB® Bostiment BF "Higa B3/S2/£8 ' Bage IFO Of 84 FILED

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ALABAMA

 

NORTHEASTERN DIVISION
UNITED STATES OF AMERICA, _ )
) Case Numbers
VS. ) 5:11-cv-8027-CLS-TMP
) 5:08-cr-0247-CLS-TMP
JOHN LAWSON SIMONS, )
)
Defendant/Movant. )
UNITED STATES OF AMERICA, _ )
) Case Numbers
VS. ) 5:11-cv-8028-CLS-TMP
) 5:08-cr-408-CLS-TMP
JOHN LAWSON SIMONS, )
)
Defendant/Movant. )

ORDER

In accordance with the Memorandum Opinion entered contemporaneously
herewith, movant’s objections to the magistrate judge’s report and recommendation
are OVERRULED. Having reviewed de novo the report and recommendation, the
objections, and other materials in the record, the court finds that the magistrate
judge’s report and recommendation is due to be, and hereby is ADOPTED and

ACCEPTED. Accordingly, the motions to vacate or set aside a conviction or

 
USCAL, Cast 15-1189 ci RMB BeblimeR BE "HiGh GARE" Pag h 39557 of 84

sentence pursuant to 28 U.S.C. § 2255 in these actions are DENIED, and these.
actions are DISMISSED WITH PREJUDICE.
DONE and ORDERED this 31st day of March, 2015.

UnkedStates District Judge

 
USCA11 Case: 15-11928 Documen t:28 Date Filed: 05/13/2016 Page: 68 of 84

5:11-CV-08028- CLS-IMP
(CV. B)

 
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 69 of 84

 
. 2013 Jun-10 PM 12:30

*  USCALL Case: 15-4928 co DIRHB'BL AR ner HE FARE OHH BagdPaPiZ© Of 84 FILED

U.S, DISTRICT COURT
N.D. OF ALABAMA

= ce
IN THE UNITED STATES DISTRICT COURT F HL ED
FOR THE NORTHERN DISTRICT OF ALABAMA #3 JUN TQ P i O07
NORTHEASTERN DIVISION US of fais,
MO, OF ALAR
beeu bo Pu

John Lawson Simons
Petitioner,
Vv. 5:11-CV-8028-CLS-TMP

United States,

 

Respondent
RESPONSE TO ORDER REGARDING AMENDMENT AND ANSWER

In response to the United
States District Court's March 13, 2013 order regarding an

amendment and answer, the movant answers the order as

follows:

Proceeding pro 'se for
a writ of habeas corpus under Title 28 U.S.C.°§ 2255, Mr.
Simons effectively established Ground One and Ground Two in
his motion and supporting memorandum in his claims of
ineffective assistance of counsel. In his supporting
memorandum, Mr. Simons made an unsubstantiated claim that @
he'd requested his defense counsel to appeal the life

sentence, and that counsel did not. Mr. Simons contends that

 

 
USCA11 Case: 15-

Case 5:11- LW OB058-CLO IMP Bacument Lr ee Oataley ' Bage 3 OF af of 84

his defense counsel at sentencing, Mr. Marcus Helstowski, not
only didn't appeal the sentence, but also failed to file a

notice of appeal on the defendant's behalf.

Mr. Simons contends that
on June 29, 2010, immediately following being sentenced to
life in prison, Mr. Helstowski said to him, "You have fourteen
days to appeal. Maybe someone in the jail can help you with
the paperwork." Mr. Simons never saw or heard from his defense
counsel again. Mr. Simons also contends that Mr. Helstowski
told the defendant's mother, Ms. Simons, who was present at
sentencing, after leaving the courthouse together, that
perhaps someone could help him with an: appeal once he got sent
to wherever he was to begin his prison sentence. Mr. Simons
acknowledges that this assertion is his word versus that of

his former defense counsel, even though he'd verbally stated

then that he wanted the case to be appealed.

A lawyer who disregards instructions from his client to appeal
has acted in a manner that is professionally unreasonable.
Prejudice is presumed. {Gomez-Diaz v. U.S., 433 F.3d 788, 790
(11ith Cir. 2005)} The same per se rule applies when a
defendant has waived the right to appeal as part of a plea

agreement.

FEDERAL RULES OF APPELLATE PROCEDURE 4 ESTABLISHES MANDATORY

TIME LIMITS FOR FILING A NOTICE OF APPEAL

Federal Rules of Appellate Procedure 4(b) (2) Filing Before

 
MSCs Bifi-bv-dd038-CL SAME Bactment £4 Figd OSHC Bage FOPL{* f°

Case

Entry or Judgment.

A Notice of appeal after the court announces a decision,

sentence, or order -- but before the entry of judgment or
order -- is treated as filed on the date of and after the
entry.

Federal Rules of Appellate Procedure 4(b) (1) (A) (i) Ina
criminal case, a defendant's notice of appeal must be filed in
the district court within 14 days after the later of the entry

of either the judgment or the order being appealed.

The docket ‘sheet for
criminal case no. 5:08-cr-0247-CLS-PWG shows a June 29, 2010
entry for sentencing. The next entry is a July 1, 2010 motion
for property forfeiture. The following entry is regarding the
PSR in Mr. Simons' case, entered on August 10, 2010. A- notice
of appeal entry, if timely filed, would've appeared somewhere
between those two aforementioned dates {See Attachment Cc}. The
docket sheet for criminal case no. 5 :08-cr-0408-CLS-TMP shows
a June 29, 2010 entry for sentencing. The next entry is also
in regards to the PSR in Mr. Simons' case, entered on August
9,.2010. The same applies. A notice of appeal entry, if timely
filed, would've appeared somewhere between those two
aforementioned dates {See Attachment D}. Mr. Simons! criminal

case docket sheets show no notice of appeal ever having been

filed.

Mr. Simons was new to

the criminal justice system as a defendant, and contends that

 
ase

USCAL Casey 15:4d938 cx ROGUE HS Bfhner ale Flask OGAG2P BagePAg:T3 of 84

it was his attorney at sentencing, not himself, who had the
necessary experience and was reasonably expected to have filed
a notice of appeal on his client's behalf. Mr. Simons bases.
this reasonable expectation on the fact that an effective -
attorney, even one who had no intention of appealing the case
for his client, would've at least filed the notice of appeal
on his behalf, given that Mr. Simons received a life sentence
-- the maximum penalty -- after pleading guilty in what was

his first time ever in the criminal justice system as a

‘defendant.

Mr, Simons contacted his
former defense counsel, asking for a letter or affidavit from
him which would substantiate his claim, specifically what he'd
stated to Mr. Simons regarding a direct appeal immediately
after his sentence was imposed. Mr. Simons received a reply
letter {See Attachment E} from his former defense counsel, in
which he states that he'd informed Mr. Simons of the process
to give a notice of appeal to the Court. Mr. Simons denies
ever having been told this by his former defense counsel, The
letter also states that Mr. Simons' former defense counsel had
informed him that he did not intend to file a notice of appeal
on his behalf. Mr. Simons denies ever having been told this by
his former défense counsel. Mr. Simons acknowledges that he
cannot prove what was or wasn't said in court between him and
his former defense counsel, as it is his word versus that of
Mr. Helstowski's, but again asserts that an effective
attorney would've had reason to believe that his client

would've wanted to appeal his case in which he'd received a

 
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 74 of 84 -
Case 5:11-cv-08028-CLS-TMP Document 14 Filed 06/10/13 Page 5 of 11

life sentence after pleading guilty and accepting
responsibility in what was his first conviction as a criminal
defendant. Mr. Simons believes that this assertion is
reasonable, given the guilty plea entered and subsequent
sentence imposed, regardless of whether his former defense
counsel remembers correctly what his client stated to him
about wanting to appeal the case, Furthermore, Mr. Helstowski
never stated either verbally or in his letter to Mr. Simons

that filing an appeal in his former client's case would've

been without merit.

Mr. Simons' lack of .
understanding of or previous experience with the judicial
process, specifically federal court rules and rules of
appellate procedure, is not an excuse as to why no direct
appeal or notice of one was ever filed in his case which he.
certainly wanted to appeal. Mr. Simons believes that his
former defense counsel was obligated to at least file a notice
of appeal on his behalf, even if he had no intention of
continuing in the attorney-client relationship at that point.
Mr. Simons believes this expectation to be reasonable, given
that adequate, not the best, defense counsel's duty was to
assist his client. Mr. Simons, however, does not contend that

‘he was, at any time, entitled to the best legal counsel.

The Court must remember that a defendant in a criminal case
has a Constitutional right only to adequate counsel; he is not
entitled to the best legal representation. {See Stone v.

Dugger, 837 F.2d 1477 (llth Cir. 1988) }

 
-o- USGAT-Gase:15-11928---Document: 28: Date Filed: 05/13/2016 - Page: 75 of 84
Case 5:11-cv-08028-CLS-TMP Document 14 Filed 06/10/13 Page 6 of 11

A NOTICE OF APPEAL IS A SIMPLE DOCUMENT. IT NEED SPECIFY ONLY:
THE PARTY TAKING THE APPEAL, THE ORDER OR JUDGMENT APPEALED

FROM, AND THE NAME OF THE COURT TO WHICH THE APPEAL IS TAKEN.

The case of Strickland
v. Washington provided the proper framework for evaluating a
‘claim that counsel was constitutionally ineffective for
failing to file a notice of appeal, as, among other matters,
(1) counsel had a constitutionally imposed duty to consult the
criminal defendant only when there was reason to think that.
(a) a rational defendant would have wanted to appeal, or (b) a
particular defendant reasonably demonstrated to counsel that
he was interested in appealing, and (2) the defendant was
required to demonstrate that there was a reasonable
probability that, but for counsel's deficient failure to
consult with him about an appeal, the defendant would have
timely appealed. {Strickland v. Washington (1984) 466 U.S.

668, 80L Ed 2d 674, 1045 Ct. 2052}

It is well settled that a lawyer who disregards a defendant's
specific instructions to file a notice of appeal acts ina
professionally unreasonable manner. {Roe v. Flores-Ortega, 528
U.S. 470, 120 S$ Ct. 1029, 1451 Ed. 985 (2000) } The Supreme
Court explained that a lawyer who disregards his client's
specific instructions to file a notice of appeal is per se
deficient, and the defendant is entitled to a belated appeal

without a showing that the appeal would likely have merit.

 
USCA11 Case: 15-11928 Document: 28 Date Filed: 05/13/2016 - Page, 76 of 84
Case 5:11-cv-08028-CLS-TMP Document 14 Filed 06/10/13 Page 7 of 11

covides .
Federal Rules of Appellate Procedure 3 Lroued that a notice of

appeal must: (A) specify the party or parties taking the
appeal (B) designate the judgment, order, or part thereof

being appealed and (C) name the court to which the appeal is

taken.

Mr. Simons contends that
counsel was ineffective for failing to. file a notice of appeal
-- a direct appeal -- on his behalf, even if counsel had no
intention of actually appealing the defendant's case or
continuing to represent him in any way from that point on, and

that an effective attorney would've reasonably been expected

to file the simple document for him.

Based on the foregoing,
Mr. Simons would ask the Court to affirm his claim in the

amendment as Ground Three in his § 2255 petition.

Respectfully submitted this the 3rd day of June, 2013

John Lawson Simons,

Respondent

 
Case 5:11-cv-08028- CLS- TMP Document 14 Ft
_aCE- U.S. District Court'Northern District of Alabama ” _ Page 6 of 7
;

/ Atts chement

“USCAN Case: 15:11928"’ Document: 28° ~D F /13/ yo ‘A:
U ate ied: JSON Page F8Pif ’ of 84

/10/13

*

Lynwood Smith Jr. at the United States Courthouse, 101 Holmes Avenue,
Huntsville, Alabama. (LCW) (Entered: 02/09/2010)

 

 

03/09/2010

13 | OBJECTION TO PRESENTENCE INVESTIGATION REPORT by John

Lawson Simons (Butler, John) (Entered: 03/09/2010)

 

06/24/2010

NOTICE OF HEARING as to John Lawson Simons; Sentencing in this
case and CR 08-S-247-NE is set for June 29, 2010 at 1:30 p.m., before
Judge C Lynwood Smith Jr., at the United States Courthouse, 101 Holmes
Avenue, Huntsville, Alabama. (LCW) (Entered: 06/24/2010)

 

06/29/2010.

| Minute Entry for proceedings held before Judge C Lynwood Smith, Jr:

Sentencing held on 6/29/2010 for John Simons: SENTENCE: Custody of
BOP - Life as to Count 10; 30 years as to Counts 2,3,5,7-9; 20 years as to
Count 6; and 10 years as to Counts 1 and 4, separately, all sentences to
run concurrently with the other, and concurrently with the sentences
imposed in NDAL case no. CR 08-S-247-NE:; Supervised release term 3
years as to Count | and 4, and Life as to Counts 2-10. Forfeiture ordered
as to Count 11; no fine imposed; Special Assessment $1,000.00;
defendant remanded to custody of USM; (Court Reporter Christina
Decker.) (LCW) (Entered: 08/09/2010)

 

07/01/2010

MOTION for Forfeiture of Property (Preliminary Order) by USA as to
John Lawson Simons. (Burrell, Mary) (Entered: 07/01/2010)

 

08/10/2010

PRESENTENCE INVESTIGATION REPORT (Sealed) as to John
Lawson Simons filed with USP. (SMH2, ) (Entered: 08/10/2010)

 

08/10/2010

Sentencing Recommendations (Sealed) as to John Lawson Simons filed
with USP. (SMH2, ) (Entered: 08/10/2010)

 

08/10/2010

JUDGMENT as to John Lawson Simons (1), Count(s) 1, 4, CBP 10 yrs
sep/concur; Count(s) 2-3, 5, 7-9, CBP 30 yrs sep/concur; Count(s) 6, CBP
20 yrs sep/concur; Count(s) 10, CBP LIFE sep/concur; Count(s) 11,
Forfeiture ordered; SRT Life as to Cts 2-10 and 3 yrs as to Cts | and 4 all
sep/concur; NO FINE; AF $1,000.00. Signed by Judge C Lynwood Smith,
Jr on 8/9/10. (SMH2, ) (Entered: 08/10/2010)

 

08/10/2010

(Court only) ***Set/Clear Flags as to John Lawson Simons (SMH2, )
(Entered: 08/10/2010)

 

08/10/2010

PRELIMINARY ORDER OF FORFEITURE as to John Lawson Simons.
com to USM and USAO. Signed by Judge C Lynwood Smith, Jr on
8/10/10. (SMH2, ) (Entered: 08/10/2010)

 

06/27/2011

MOTION to Vacate under 28 U.S.C. 2255 ( Civil Action 5:11-CV-8028-
CLS-TMP.) by John Lawson Simons. (Attachments: # 1 Brief in Support
of Motion to Vacate (2255))(AHI ) (Entered: 06/27/2011)

 

10/25/2011

IS

NOTICE Declaration of Publication by John Lawson Simons (Barlow,
Davis) (Entered: 10/25/2011)

 

 

10/31/2011

 

 

MOTION for Forfeiture of Property Motion for Final Order of Forfeiture
by USA as to John Lawson Simons. (Attachments: # 1 Text of Proposed

 

'

‘

 
ot

se; 15-11928
cyl v ‘CagelSsttetvc0802eoGhsSsTINIFL cDocumenbid Filed 06/10/13 Page 9 Of lho. 5 of 6

bey A the clone #. 1D . Paooe yp gy Vs
sy

Document: 28 Date Filed: 05/13/2016 Page: 78 of 84

+ y !

(Entered: 01/16/2009)

 

01/28/2009

| Minute Entry for proceedings held before Judge C Lynwood Smith, Jr: -

| Plea entered by John Lawson Simons (1) Guilty Count 1,2-10,11,12.

Change of Plea Hearing as to John Lawson Simons held on 1/28/2008,

defendant remanded to custody pending sentencing set for 6/17/2009 at
10:00 a.m. in Huntsville, Alabama. (see also CR 08-S-408-NE)(Court
Reporter Christina Decker.) (LCW) (Entered: 02/23/2009)

 

01/28/2009

10

GUILTY PLEA ADVICE OF RIGHTS CERTIFICATION by John
Lawson Simons, filed in court on 1/28/2009, (LCW) (Entered:
02/23/2009) ‘

 

06/05/2009

Notice of Appearance by Marcus Helstowski for defendant John Lawson
Simons. (Helstowski, Marcus) Modified on 6/5/2009 (SHB, ). (Entered:
06/05/2009) . :

 

06/05/2009

(Court only) ***Motions terminated as to John Lawson Simons: i
MOTION for atty appearance filed by John Lawson Simons. (SHB, )
(Entered: 06/05/2009)

 

01/19/2010

NOTICE as to John Lawson Simons: Sentencing in this case and CR 08-
5-480-NE is set for February 4, 2010 at 10:00 a.m., before Judge.C
Lynwood Smith Jr., at the United States Courthouse, 101 Holmes Avenue,
Huntsville, Alabama, (LCW) (Entered: 01/ 19/2010)

 

02/03/2010

NOTICE as to John Lawson Simons: Sentencing, in this case and CRO8-
S-408-NE, presently set for 2/4/10 is RESCHEDULED for February 10,
2010 at 1:30 p.m., before Judge C Lynwood Smith Jr., at the United States
Courthouse, 101 Holmes Avenue, Huntsville, Alabama. (LCW) (Entered:
02/03/2010)

 

02/09/2010

12 | SENTENCING MEMORANDUM by USA as to John Lawson Simons

(Burrell, Mary) (Entered: 02/09/2010)

 

02/09/2010

| on 2/9/2010 (LCW, ). (Entered: 02/09/2010)

NOTICE as to John Lawson Simons: Sentencing in this case and CR 08-
S-408-NE, presently set for 2/10/2010 is RESET for March 3,2010 at .
10:00 a.m., before Judge C Lynwood Smith Jr. at the United States
Courthouse, 101 Holmes Avenue, Huntsville, Alabama. (LCW) Modified

 

06/24/2010

NOTICE OF HEARING as to John Lawson Simons; Sentencing in this
case and CR 08-S-408-NE is set for June 29, 2010 at 1:30 p.m., before
Judge C Lynwood Smith Jr., at the United States Courthouse, 101 Holmes
Avenue, Huntsville, Alabama. (LCW) (Entered: 06/24/2010)

 

06/29/2010

 

hitps://ecf.alnd.circ 1 1.den/cgi-bin/DktRpt.pl?11 130484321 7887-L_452_0-1
t

 

 

Minute Entry for proceedings held before Judge C Lynwood Smith, Jr:
Sentencing held on 6/29/2010 for John Simons: Sentence: Custody of
BOP 10 years as to Count 1, and 30 years as to Counts 2-12, separately,
with each count to run concurrently with the other and to run concurrently
with the sentences imposed in NDAL case no. CR 08-S-408-NE;
Supervised release term - Life as to counts 1-12 in this case, with special
conditions; no fine; special assessment $1,200.00; defendant remanded to

 

9/14/2012

4

 
- - USCA11 Case: 15-11928 Document: 28 pate E 2016 fe, of 8 4.
|, CMEC Case pilevQROeRSrhiend MRnikQaumentnld 6d OBLON13° Page 10°F Wage Oot 6

b }
b
i } - Y

custody of USM; (SEE ALSO, CR 08-S-408-NE)(Court Reporter
Christina Decker.) (LCW) Modified on 8/9/2010 (LCW, ). (Entered:

}

 

 

 

08/09/2010)

08/09/2010 13 | PRESENTENCE INVESTIGATION REPORT (Sealed) as to John
Lawson Simons filed w/USP (HBB, ) (Entered: 08/09/2010)

08/09/2010 14 | Sentencing Recommendations (Sealed) as to John Lawson Simons filed
w/USP (HBB, ) (Entered: 08/09/2010) ~

08/09/2010 15 | JUDGMENT as to John Lawson Simons (1), Count(s) 1, BOP 120 mos as

to cnt 1; BOP 360 mos as to cnts 2-12 to run ‘sep/concur ‘wleach other and
w/ctn 1 ‘and to run concur with sentences imposed in NDAL case #CR 08-
S-408-NE; SRT Life; No Fine; AF $1200.00. Signed by Judge C
Lynwood Smith, Jr on "8/9/2010. (HBB, ) (Entered: 08/09/2010)

08/09/2010 . (Court only) ***Set Flags as to John Lawson Simons (HBB, ) (Entered:
01/24/2012)

06/27/2011 -Z 16 | MOTION to Vacate under 28 U.S.C. 2255 ( Civil Action 5:11-CV-8027-
CLS-PWG.) by John Lawson Simons. (Attachments: # 1 Brief in Support
of Motion to Vacate (2255))(AHI) (Entered: 06/27/2011)

 

 

 

 

 

 

 

hitps://ecf.alnd.cire11 den/egi-bin/DktRpt.pl?1 113048432178 87-L_45 2 0-1 9/14/2012

 
 

: 80 of 84
ll,
4

13/2016 . Pa
5 onron Page 1 of

- Date Eile

ocument: 28
-TMR Document 14 File

&

8828-CL

     

o

ite

Case
ee
€

k

~ USCA11 Case: 15+11928

Atlee LR,

McDANIEL AND McDANIEL, L.L.C.

ATTORNEYS AT LAW
OFFICES
MARK McDAMIEL
HENRI BUTLER McDANIEL 223 EAST SIDE SQUARE
SUZETTE DANIELS HUNTSVILLE, ALABAMA 35801
MARCUS HELSTOWSKI OFFICE: 534-3018, 534-6321
BEN McDANIEL .
c May 2, 2013 FAX: (256) 534-8117

John L. Simons

#27151-001 |

U.S. Penitentiary Tucson

P.O. Box 24550

Tucson, AZ 85734

Dear Mr. Simons: *

I received your letter dated April 26, 2013.

I do recall notifying you that you did have the right to appeal the
sentence after the sentence was rendered by the U.S. District Judge. I
do recall notifying you of the process to give notice of appeal to the Court.
I do recall notifying you that I had not filed a notice of appeal on your

behalf and did not intend to do such, because you had no intention of
appealing your sentence.

I recall informing you mother of the proper avenue to file a notice
of appeal as well on the date that you were sentenced.

I do not recall either you or your mother

Stating any intention to
appeal your sentence or seem open to filing a not

ice of appeal.

‘

  

ot
Breet cee ee
ae

Mer

MARCUS HELSTOWSKI
Attorney at Law

McDaniel & McDaniel, L.L.C,.
223 East Side Square
Huntsville, Alabama 35801
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 81 of 84

 
USCA11 Case: 15- : iled;
dase Biii-cv-08028-CLS°PMP” Boctiment 86 ‘Hisd OS/S1/£9 'Bagé F8F2°° Of ®4 FILED

2015 Mar-31 PM 03:49
U.S. DISTRICT COURT
N.D, OF ALABAMA

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ALABAMA
NORTHEASTERN DIVISION

 

UNITED STATES OF AMERICA, _ )
) Case Numbers
VS. ) 5:11-cv-8027-CLS-TMP
) 5:08-cr-0247-CLS-TMP
JOHN LAWSON SIMONS, )
)
Defendant/Movant. )
UNITED STATES OF AMERICA, _ )
) Case Numbers
VS. ) 5:11-cv-8028-CLS-TMP
) 5:08-cr-408-CLS-TMP
JOHN LAWSON SIMONS, )
)
Defendant/Movant. )
ORDER

In accordance with the Memorandum Opinion entered contemporaneously
herewith, movant’s objections to the magistrate judge’s report and recommendation
are OVERRULED. Having reviewed de novo the report and recommendation, the
objections, and other materials in the record, the court finds that the magistrate
judge’s report and recommendation is due to be, and hereby is ADOPTED and

ACCEPTED. Accordingly, the motions to vacate or set aside a conviction or

 
USCA11 Case: 15-11928 Document: 28 Date Filed: 05/13/2016 Page: 83 of 84
Case 5:11-cv-08028-CLS-TMP Document 30 Filed 03/31/15 Page 2 of 2

sentence pursuant to 28 U.S.C. § 2255 in these actions are DENIED, and these
actions are DISMISSED WITH PREJUDICE.
DONE and ORDERED this 31st day of March, 2015.

ouad 4

United States District Judge

 
USCA11 Case: 15-11928 Document:28 Date Filed: 05/13/2016 Page: 84 of 84

CERTIFICATE OF SERVICE

I hereby certify that on May 13th, 2016, the foregoing supplemental
appendix was filed electronically with the Clerk of the Court using the CM/ECF
system and a copy was served on counsel for the Appellant by placing a copy in
the United States mail, first class and postage prepaid, addressed as follows:

Derek Drennan

Kirk Drennan Law

500 Office Park Drive
Suite 100

Birmingham, AL 35223

and by mailing the original and an additional copy of the supplemental appendix
by Federal Express overnight delivery, to the Clerk of this Honorable Court, on the
same date, addressed as follows:

Clerk’s Office — Appeal No. 15-11928-DD
U.S. Court of Appeals — Eleventh Circuit
56 Forsyth Street NW

Atlanta, GA 30303.

/s/ RAMONA C. ALBIN
Assistant United States Attorney

United States Attorney’s Office
1801 Fourth Avenue North —
Birmingham, Alabama 35203-2101
(205) 244-2001

 
